                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:
                                                             Case No. 13-44665
DEARBORN BANCORP, INC.,
                                                             Chapter 7
                       Debtor.
                                          /                  Judge Thomas J. Tucker

FRED J. DERY, TRUSTEE,

                       Plaintiff,

vs.                                                          Adv. Pro. No. 13-5094

JEFFREY KARAFA,

                       Defendant.
                                         /

FRED J. DERY, TRUSTEE,

                       Plaintiff,

vs.                                                          Adv. Pro. No. 13-5095

MICHAEL J. ROSS,

                       Defendant.
                                         /

                                        TRIAL OPINION

I. Introduction

         Each of the above-captioned adversary proceedings is a preference action arising out of

the Chapter 7 bankruptcy case of Dearborn Bancorp, Inc. The Plaintiff Chapter 7 Trustee seeks

to avoid pre-petition transfers the Debtor made to Defendant Jeffrey Karafa totaling $130,422.00

(Adv. No. 13-5094) and pre-petition transfers the Debtor made to Defendant Michael Ross




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totaling $228,344.00 (Adv. No. 13-5095). The Trustee seeks judgments for these amounts

against the Defendants, plus interest. The Trustee also seeks disallowance, under 11 U.S.C.

§ 502(d), of each Defendant’s claim filed in the Debtor’s bankruptcy case.

        The Court granted partial summary judgment for the Plaintiff Trustee in each of these

cases, and then held a joint bench trial. The parties then filed post-trial briefs.

        The trial focused on two of the statutory defenses to the avoidance of preferential

transfers — namely, the “contemporaneous exchange for new value” defense under 11 U.S.C.

§ 547(c)(1), and the “subsequent new value” defense under 11 U.S.C. § 547(c)(4).

        The Court has considered all of the arguments of the parties; all of the exhibits admitted

into evidence at trial, namely Plaintiff’s Exhibits 1-4 and 8-27, and Defendants’ Exhibits C, D, F-

1, F-2, G-1-D, G-4-A, G-4-B, I-1, I-2, J-3, K-2, L-2, L-3, O, and P, and each of the following

Defendants’ Exhibits for a limited purpose as stated during trial: J-1, M-1, M-2-A, M-3, M-4-B.1

And the Court has considered all of the testimony that was admitted into evidence at trial, of the

following witnesses: William Demmer, Defendant Michael Ross, and Defendant Jeffrey Karafa.

        This opinion constitutes a statement of the Court’s findings of fact and conclusions of law

in these two adversary proceedings. For the reasons stated in this opinion, the Court will enter

judgment in favor of the Plaintiff Trustee against each of the Defendants.

II. Background and facts

A. Background

        The following quotation from Defendants’ trial brief accurately states some basic



        1
         In this opinion, citations to Plaintiff’s trial exhibits will be in the form “PX-_” and citations to
Defendants’ trial exhibits will be in the form “DX-_”.

                                                      2



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background facts that are not disputed:

                      Prior to the filing of its bankruptcy petition, Dearborn
               Bancorp, Inc. (“Debtor”) was a publicly traded company with
               approximately 5,000 shareholders and was listed on the NASDAQ
               Stock Exchange. Debtor owned 100% of the stock of Community
               Bank of Dearborn, which later became known as Fidelity Bank
               (“Bank”).

                       Debtor employed Michael Ross (“Ross”) as its President
               and Bank employed Ross as its President and Chief Executive
               Officer. Debtor employed Jeffery Karafa (“Karafa”) as its
               Treasurer and Chief Operating Officer and Bank employed Karafa
               as its Senior Vice President, Chief Financial Officer, Secretary, and
               Treasurer. Ross and Karafa oversaw the day-to-day operations of
               Bank and Debtor.

                       On or about March 30, 2012: (a) Bank was closed by the
               Michigan Office Of Financial And Insurance Regulation; (b) the
               Federal Deposit Insurance Corporation (“FDIC”) was appointed to
               be Bank’s receiver; (c) substantially all of the assets of Bank were
               sold to Huntington National Bank; and (d) all of the employees of
               Bank were terminated.

                       On or about March 21, 2012, Debtor entered into
               Consulting Agreements with Ross and Karafa. . . . [Under] the
               Consulting Agreements, Debtor retained Ross and Karafa to
               perform services in connection with the winding up of Debtor’s
               business and affairs. . . . The Consulting Agreement with Ross
               was effective as of March 31, 2012 and the Consulting Agreement
               with Karafa was effective as of March 30, 2012. [Under] the
               Consulting Agreement with Ross, Debtor was obligated to provide
               the following to Ross in exchange for his performance of duties
               under the Consulting Agreement: (I) compensation of $6,867 [per
               week] paid weekly in advance; (ii) an allowance for health care
               benefits of $1,000 [per month] paid monthly on the first of each
               month; and (iii) reimbursement of expenses of $75 [per month]
               paid monthly on the first of each month. [Under] the Consulting
               Agreement with Karafa, Debtor was obligated to provide the
               following to Karafa in exchange for his performance of duties
               under the Consulting Agreement: (I) compensation of $3,846 [per
               week] paid weekly in advance; (ii) an allowance for health care
               benefits of $1,000 [per month] paid monthly on the first of each


                                                3



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                  month; and (iii) reimbursement of expenses of $50 [per month]
                  paid monthly on the first of each month.

                           Ross and Karafa performed the obligations required under
                  their respective Consulting Agreements. Between April 7, 2012
                  and November 2, 2012, Debtor paid $228,344 to Ross and
                  $130,422 to Karafa. Such payments were made in the amounts and
                  at the times required under their respective Consulting
                  Agreements. Both Ross and Karafa continued to perform services
                  for Debtor pursuant to the provisions of the Consulting
                  Agreements after Debtor ceased paying them for services at the
                  beginning of November 2012.

                          Debtor filed a voluntary petition for relief under chapter 7
                  of the Bankruptcy Code on March 11, 2013. Ross filed a proof of
                  claim, Claim No. 2, in the amount of $137,340 for services
                  rendered pursuant to his Consulting Agreement subsequent to
                  November 9, 2012. Karafa filed a proof of claim, Claim No. 5, in
                  the amount of $76,920 for services rendered pursuant to his
                  Consulting Agreement subsequent to November 9, 2012.2

B. Plaintiff Trustee’s complaints

         The Plaintiff Trustee’s complaints in these two adversary proceedings are similar, and

each complaint contains six counts.3 Count I of each complaint seeks to avoid the pre-petition

transfers the Debtor made under the Consulting Agreements with Defendants — totaling

$130,422.00 to Karafa and $228,344.00 to Ross — as preferential transfers under 11 U.S.C.

§ 547(b). Counts II through IV, which are no longer part of these cases, sought to avoid the same

transfers, as fraudulent transfers under several provisions in 11 U.S.C. § 548. Count V seeks

recovery of the avoided transfers from each Defendant, as an initial transferee, under 11 U.S.C.



         2
          Trial Br. of Michael J. Ross and Jefferey Karafa (Docket # 76 in Adv. No. 13-5094; Docket
# 72 in Adv. No. 13-5095) at 1-4.
         3
             Compl. (Docket # 1 in Adv. No. 13-5094); First Am. Compl. (Docket # 6 in Adv. No. 13-
5095).

                                                    4



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§ 550. And Count VI seeks disallowance of each Defendant’s claim filed in the bankruptcy case

under 11 U.S.C. § 502(d).

C. The Court’s summary judgment rulings and the trial

        Before trial, Plaintiff moved for summary judgment in each adversary proceeding.

Plaintiff sought summary judgment on Count I (the preference claim), and also on Counts III and

IV (fraudulent transfer claims) of his complaint in each case. Defendants opposed the summary

judgment motions.

        After holding a hearing, the Court issued a bench opinion4 and entered an order in each

adversary proceeding, granting Plaintiff’s motions in part and denying them in part. The Court

denied Plaintiff’s summary judgment motions entirely with respect to the fraudulent transfer

claims (Counts III and IV). But the Court granted partial summary judgment with respect to

Plaintiff’s preference claims in each adversary proceeding (Count I), as follows:

                         IT IS ORDERED that:

                1. The Motion is granted to the following extent: Plaintiff is
                   granted partial summary judgment on Count I . . ., determining
                   that the Plaintiff has established all of the necessary elements
                   under 11 U.S.C. § 547(b) for avoiding the transfers alleged and
                   referred to in . . . the Complaint . . . .

                2. The Motion also is granted to the following extent: Plaintiff is
                   granted partial summary judgment, with respect to the
                   Defendant’s affirmative defense to Count I under 11 U.S.C.
                   § 547(c)(2).

                3. To the extent the Plaintiff’s Motion seeks summary judgment
                   on the Defendant’s affirmative defenses to Count I under 11
                   U.S.C. § 547(c)(1) and 11 U.S.C. § 547(c)(4), the Motion is


        4
            A transcript of the Court’s bench opinion is on file at Docket # 68 in Adv. No. 13-5094, and it
is cited in this opinion as “Tr. of Summ. J. Bench Op. at __.”

                                                     5



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                     denied.5

        The Court then held a joint trial in the two adversary proceedings. Before trial, Plaintiff

abandoned all of his fraudulent transfer claims, Counts II through IV in each case,6 and the Court

now will enter judgment dismissing those claims with prejudice. Trial was held on Plaintiffs

preference claims under Count I, and the related claims that depend on Plaintiff’s success in

avoiding the transfers as preferences — Counts V (the § 550 recovery claim), and VI (the

§ 502(d) claim).

III. Jurisdiction

        This Court has subject matter jurisdiction over this adversary proceeding under 28 U.S.C.

§§ 1334(b), 157(a) and 157(b)(1), and Local Rule 83.50(a) (E.D. Mich.). All of Plaintiff’s

claims in these adversary proceedings are core proceedings, under 28 U.S.C. §§ 157(b)(2)(B),

157(b)(2)(F) and 157(b)(2)(H).

        In addition, each of these adversary proceedings falls within the definition of a

proceeding “arising under title 11” and of a proceeding “arising in” a case under title 11, within

the meaning of 28 U.S.C. § 1334(b). Matters falling within either of these categories in

§ 1334(b) are deemed to be core proceedings. See Allard v. Coenen (In re Trans-Industries,

Inc.), 419 B.R. 21, 27 (Bankr. E.D. Mich. 2009). Each is a proceeding “arising under title 11”

because it is “created or determined by a statutory provision of title 11,” see id., namely

Bankruptcy Code §§ 502(d), 547, 548, and 550. And each is a proceeding “arising in” a case


        5
         Order Granting in Part, and Denying in Part, Plaintiff’s Motion for Summary Judgment, [etc.]
(Docket # 65 in Adv. No. 13-5094; Docket # 63 in Adv. No. 13-5095).
        6
            See Final Pretrial Order (Docket # 71 in Adv. No. 13-5094; Docket # 67 in Adv. No. 13-5095)
at 3.

                                                    6



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under title 11, because it is a proceeding that “by [its] very nature, could arise only in bankruptcy

cases.” See Allard v. Coenen, 419 B.R. at 27.

        For these reasons, this Court has statutory authority, under 28 U.S.C. § 157(b)(1), to enter

a final judgment on all of Plaintiff’s claims. If and to the extent this Court might otherwise lack

constitutional authority to enter a final judgment, under Stern v. Marshall, 131 S. Ct. 2594

(2011), such a problem does not exist in these cases. This is because all of the parties in these

adversary proceedings have expressly, knowingly, and voluntarily consented to this bankruptcy

court entering a final order or judgment, as permitted by 28 U.S.C. § 157(c)(2).7 Given that

consent, this bankruptcy court has both statutory and constitutional authority to enter a final

judgment on Plantiff’s claims. See Ralph Roberts Realty, LLC v. Savoy (In re Ralph Roberts

Realty), 562 B.R. 144, 147-48 (Bankr. E.D. Mich. 2016) (discussing, among other cases,

Wellness Int’l Network, Ltd. v. Sharif, 135 S. Ct. 1932 (2015)).

IV. Discussion

A. Count I – avoidance of preferential transfers under 11 U.S.C. § 547

        1. The transfers at issue

        It is undisputed that during the time period from April 1, 2012 to November 2, 2012, the

Debtor made 32 weekly transfers to each of the Defendants. All of the transfers were done by a

check drawn on the Debtor’s bank account at Fifth Third Bank. And all of the transfers were

payments called for by the Consulting Agreement that each Defendant had made with the Debtor

in March 2012. For each payment, Defendants would generate an invoice. Copies of all of the



        7
          See Report of Parties’ Rule 26(f) Conference (Docket # 10 in Adv. No. 13-5094) at 4, ¶ 3(g);
Report of Parties’ Rule 26(f) Conference (Docket # 12 in Adv. No. 13-5095) at 4, ¶ 3(g).

                                                   7



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invoices and of all the checks that paid the invoices were admitted into evidence at trial as

exhibits: PX-2 and DX-I-1 and DX-I-2.

       The invoices and the payments followed the timing set out in each Defendant’s

Consulting Agreement. For example, the first invoice issued for Ross was dated March 31,

2012, addressed to the Debtor, for the following amounts: (1) $6,867.00 for “Consulting Services

for the week of April 1-7, 2012;” plus (2) $1,000.00 for “Allowance for Health Care Benefits for

the month of April 2012;” plus (3) $75.00 for “Cell Phone reimbursement for the month of April

2012.” The total of this invoice was $7,942.00. The invoice was paid by Check Number 1005

from the Debtor payable to Ross, dated April 1, 2012, in the amount of $7,942.00.8 And this

payment is reflected in the Debtor’s bank ledger, PX-1. The next invoice from Ross was dated

April 9, 2012, and was for $6,867.00, for “Consulting Services for the week of April 8-14,

2012.” That invoice was paid by the Debtor’s Check Number 1010 dated April 9, 2012. This

was followed by weekly invoices and checks, in a similar pattern. The invoice at the beginning

of each month included a weekly salary payment of $6,867.00, the monthly $1,000.00 allowance

for health care benefits, and the monthly $75.00 cell phone expense amount. The other weekly

invoices would include only the weekly salary payment for the specified week. Karafa’s invoices

and check payments followed the same pattern and timing, in the amounts specified by Karafa’s

Consulting Agreement.

       The following tables list information about all the transfers at issue, and are based on

information gleaned from PX-1, PX-2, DX-I-1, and DX-I-2. First, the transfers to Ross:




       8
           See PX-2, first page.

                                                    8



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                             Michael J. Ross
         for time period:    invoice date:     check date:           PX-1 check date:   salary:    health care:   expense:
                                                                                                                  (cell phone):
 1.      April 2012          March 31, 2012    April 1, 2012                                       $1,000         $75
         April 1-7                                                                      $6,867
 2.      April 8-14          April 9, 2012     April 9, 2012                            $6,867
 3.      April 15-21         April 16, 2012    April 16, 2012                           $6,867
 4.      April 22-28         April 23, 2012    April 23, 2012                           $6,867

 5.      May 2012            April 30, 2012    April 30, 2012                                      $1,000         $75
         April 29-May 5                                                                 $6,867
 6.      May 6-12            May 7, 2012       May 7, 2012                              $6,867
 7.      May 13-19           May 11, 2012      May 11, 2012                             $6,867
 8.      May 20-26           May 17, 2012      May 17, 2012                             $6,867

 9.      June 2012           May 25, 2012      May 25, 2012                                        $1,000         $75
         May 27-June 2                                                                  $6,867
 10.     June 3-9            June 1, 2012      June 1, 2012                             $6,867
 11.     June 10-16          June 8, 2012      June 8, 2012                             $6,867
 12.     June 17-23          June 15, 2012     June 15, 2012                            $6,867
 13.     June 24-30          June 22, 2012     June 22, 2012                            $6,867

 14.     July 2012           June 29, 2012     June 29, 2012                                       $1,000         $75
         July 1-7                                                                       $6,867
 15.     July 8-15           July 7, 2012      July 7, 2012                             $6,867
 16.     July 16-22          July 12, 2012     July13, 2012                             $6,867
 17.     July 23-30          July 19, 2012     July 19, 2012                            $6,867

 18.     August 2012         July 26, 2012     July 26, 2012                                       $1,000         $75
         July 29-Aug 4                                                                  $6,867
 19.     August 5-11         August 2, 2012    August 3, 2012                           $6,867
 20.     August 12-18        August 7, 2012    August 7, 2012        August 10, 2012    $6,867
 21.     August 19-25        August 16, 2012   August 16, 2012                          $6,867

         September 2012
 22.     Aug 26-Sept 1       no invoice        August 24, 2012                          $6,867
 23.     Sept 2-9            August 30, 2012   August 31, 2012       Sept 2, 2012       $6,867     $1,000         $75
 24.     Sept 9-16           Sept 6, 2012      Sept 7, 2012                             $6,867
 25.     Sept 17-23          Sept 16, 2012     Sept 14, 2012                            $6,867
 26.     Sept 24-30          Sept 23, 2012     Sept 23, 2012                            $6,867

 27.     October 2012        Sept 29, 2012     Sept 30, 2012         Oct 1, 2012                   $1,000         $75
         Sept 30-Oct 6                                                                  $6,867
 28.     Oct 7-13            Oct 4, 2012       Oct 5, 2012           Oct 7, 2012        $6,867
 29.     Oct 14-20           Oct 13, 2012      Oct 13, 2012          Oct 14, 2012       $6,867
 30.     Oct 21-27           Oct 19, 2012      Oct 18, 2012          Oct 21, 2012       $6,867

 31.     November 2012 Oct 25, 2012            Oct 26, 2012          Oct 28, 2012                  $1,000         $75
         Oct 28-Nov 3                                                                   $6,867
 32.     Nov 4-10      Nov 1, 2012             Nov 2, 2012                              $6,867

         Totals:                                                                        $219,744   $8,000         $600
         Total all payts.:                                                              $228,344




       Second, the transfers to Karafa:

                                                                 9


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                            Jeffrey L. Karafa
        for time period:    invoice date:       check date:         PX-1 check date:   salary:    health care: expense:
                                                                                                               (cell phone):
 1.     April 2012          March 31, 2012      April 1, 2012                                     $1,000       $50
        April 1-7                                                                      $3,846
 2.     April 8-14          April 9, 2012       April 9, 2012                          $3,846
 3.     April 15-21         April 16, 2012      April 16, 2012                         $3,846
 4.     April 22-28         April 23, 2012      April 23, 2012      April 12, 2012     $3,846

 5.     May 2012            April 30, 2012      April 30, 2012                                    $1,000       $50
        April 29-May 5                                                                 $3,846
 6.     May 6-12            May 7, 2012         May 7, 2012                            $3,846
 7.     May 13-19           May 11, 2012        May 11, 2012                           $3,846
 8.     May 20-26           May 17, 2012        May 17, 2012                           $3,846

 9.     June 2012           May 25, 2012        May 25, 2012                                      $1,000       $50
        May 27-June 2                                                                  $3,846
 10.    June 3-9            June 1, 2012        June 1, 2012                           $3,846
 11.    June 10-16          June 8, 2012        June 8, 2012                           $3,846
 12.    June 17-23          June 15, 2012       June 15, 2012                          $3,846
 13.    June 24-30          June 22, 2012       June 22, 2012                          $3,846

 14.    July 2012           June 29, 2012       June 29, 2012                                     $1,000       $50
        July 1-7                                                                       $3,846
 15.    July 8-15           July 7, 2012        July 7, 2012                           $3,846
 16.    July 16-22          July 12, 2012       July13, 2012                           $3,846
 17.    July 23-30          July 19, 2012       July 19, 2012                          $3,846

 18.    August 2012         July 26, 2012       July 26, 2012       July 23, 2012                 $1,000       $50
        July 29-Aug 4                                                                  $3,846
 19.    August 5-11         August 2, 2012      August 3, 2012                         $3,846
 20.    August 12-18        August 7, 2012      August 7, 2012      August 10, 2012    $3,846
 21.    August 19-25        August 16, 2012     August 16, 2012                        $3,846

        September 2012
 22.    Aug 26-Sept 1       August 24, 2012     August 24, 2012                        $3,846
 23.    Sept 2-9            August 30, 2012     August 31, 2012     Sept 2, 2012       $3,846     $1,000       $50
 24.    Sept 9-16           Sept 6, 2012        Sept 7, 2012                           $3,846
 25.    Sept 17-23          Sept 16, 2012       Sept 14, 2012                          $3,846
 26.    Sept 24-30          Sept 23, 2012       Sept 23, 2012                          $3,846

 27.    October 2012        Sept 29, 2012       Sept 30, 2012       Oct 1, 2012                   $1,000       $50
        Sept 30-Oct 6                                                                  $3,846
 28.    Oct 7-13            Oct 4, 2012         Oct 5, 2012         Oct 7, 2012        $3,846
 29.    Oct 14-20           Oct 13, 2012        Oct 13, 2012        Oct 14, 2012       $3,846
 30.    Oct 21-27           Oct 19, 2012        Oct 18, 2012        Oct 21, 2012       $3,846

 31.    November 2012                                                                             N/A          N/A
        Oct 28-Nov 3        Oct 25, 2012        Oct 26, 2012        Oct 28, 2012       $3,846
 32.    Nov 4-10            Nov 1, 2012         Nov 2, 2012                            $3,846

        Totals:                                                                        $123,072   $7,000       $350
        Total all payts.:                                                              $130,422




       Some explanation of these tables is necessary. For each Defendant, the table shows the


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time period for which a particular invoice was issued, and the date of the check that paid each

invoice. The amounts paid by the checks dated at the beginning of each month are broken out

into the three components on two lines in the table (salary; health care; cell phone), but the check

was in a single amount.

        The date in the “check date” column is the date on the face of each check. This is not

necessarily the date on which the Debtor’s bank honored the check. For § 547(b) purposes, at

least, a transfer by check is deemed to be “made” on the date the drawee bank actually honors the

check by paying it. See Barnhill v. Johnson, 503 U.S. 393, 394-95, 400 (1992) (“a transfer made

by check [is] deemed to occur . . . on the date the drawee bank honors it” by paying it, and “not

before,” such as when the transferee receives the check).9 In this case, there was no evidence

presented by the parties at trial showing specifically when each check to the Defendants was paid

by the drawee bank.10 Neither side has made an issue of this. At the summary judgment stage,

for example, it was undisputed that the Defendants were insiders of the Debtor, and that the

transfers at issue all were made within the applicable one-year preference period, and the Court

so ruled in granting partial summary judgment for Plaintiff.11 And for purposes of the Court’s


        9
          The rule is different for purposes of the Defendants’ affirmative defense under 11 U.S.C.
§ 547(c)(4), the “subsequent new value” defense. For purposes of that defense, the transfer by check is
deemed to be made on the date the check is delivered to the transferee. But in this case that does not
matter. See discussion in Part IV.A.5 of this Opinion, at footnote 37.
        10
           There was no testimony about this subject. And the trial exhibits do not contain this
information. For example, Plaintiff’s exhibits, PX-1 and PX-2, show only the date of the checks. The
same is true for Defendants’ exhibits, DX-I-1 and DX-I-2.
        11
           It was undisputed that each of the Defendants was an “insider” of the Debtor when all of the
transfers were made, as defined by 11 U.S.C. § 101(31)(B) (defining “insider” to include, in the case of a
debtor that is a corporation, a director or officer of the corporation, or a “person in control of the
debtor”). Defendants admitted that they were insiders, and the Court so ruled. (See Tr. of Summ. J.
Bench Op. at 4, 19, 11; Joint Br. of [Defendants] in Opp’n to Trustee’s Mots. for Summ. J. (Docket # 47
in Adv. No. 13-5094; Docket # 45 in Adv. No. 13-5095) at 14, 14 n.15 (conceding that “Ross and Karafa

                                                   11


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ruling on the Defendants’ defenses, discussed below, it is immaterial whether the checks were

honored on the dates written on the face of the checks, or within a day or two later. The Court

will assume that each check was paid by the Debtor’s bank on, or within a day or two after, the

date of the check. This is what one would normally expect, and the circumstances in this case do

not suggest anything else.

        There are two minor discrepancies in the evidence, as indicated by the tables above.

First, each side’s exhibits consisting of the invoices and check copies are missing the invoice and

check copy for one weekly salary payment to Defendant Ross. That is the payment of $6,867.00

made by the check dated August 24, 2012, and it was the salary payment for the week of August

26 to September 1, 2012. (See the “no invoice” line for that week under the “invoice date”

column in the table for Ross, above.)12 But this payment to Ross is shown in the Debtor’s ledger

for this bank account, PX-1, Check Number 1062 dated August 24, 2012. So the Court includes

this payment in the table for Ross, and includes this in the transfers the Court finds were made to

Ross. By including this payment, the total of the transfers to Ross equals the $228,344.00 total

the parties agree on.

        A second minor discrepancy is that for both Ross and Karafa, a few of the check dates

shown by the check copies in each side’s exhibits are different from the check dates for those

checks that are shown in the Debtor’s account ledger, PX-1. These different dates in PX-1 are



were insiders within the meaning of Code Section 101(31)” and admitting that all the transfers at issue
were made during the 1-year pre-petition period); see also PX-20; PX-21, each at response to Admission
Request No. 6 (admissions by Ross and Karafa, each, that he “was a director, officer, or person in control
of the Debtor throughout the period January 1, 2012 through the Petition Date”). Under § 547(b)(4),
therefore, the applicable preference period is the one-year period preceding the March 11, 2013
bankruptcy petition date.
        12
             See PX-2; DX-I-1; DX-I-2.

                                                   12


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shown in the tables above in the “PX-1 check date:” column. The Court finds that the check

dates shown in the Debtor’s account ledger, PX-1, are incorrect with respect to these checks,

because they do not match the actual dates written on the face of the check copies themselves.

The correct check dates, for all checks reflected in each table above, are the dates stated in the

“check date:” column.13

        2. The elements for avoidance under § 547(b)

        The Court reiterates and incorporates by reference into this opinion all of the rulings the

Court made on Plaintiff’s summary judgment motions. Thus, Plaintiff is deemed to have

established, as to all of the transfers at issue, each of the elements for avoidance of the transfers

under 11 U.S.C. § 547(b). Section 547(b) states the elements:

                        (b) Except as provided in subsection (c) and (I) of this
                section, the trustee may avoid any transfer of an interest of the
                debtor in property—

                        (1) to or for the benefit of a creditor;

                        (2) for or on account of an antecedent debt owed by
                        the debtor before such transfer was made;

                        (3) made while the debtor was insolvent;

                        (4) made—

                            (A) on or within 90 days before the date of the filing of
                        the petition; or



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           In reviewing these exhibits, the Court initially wondered whether the check dates stated in the
“Date” column of the Debtor’s account ledger, PX-1, were actually the dates on which the Debtor’s bank
paid the checks. But there is no evidence that this is so. And the Court finds that this is not the case,
based on the fact that two of the check dates in the account ledger predate the date that is on the face of
the check copy for that check. See the dates in the Karafa table above, in the “PX-1 check date” column,
for April 12, 2012 and July 23, 2012. The actual dates on the copies of those checks are April 23, 2012
and July 26, 2012, respectively.

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                             (B) between ninety days and one year before the date of
                         the filing of the petition, if such creditor at the time of such
                         transfer was an insider; and

                         (5) that enables such creditor to receive more than
                         such creditor would receive if—

                             (A) the case were a case under chapter 7 of this title;

                             (B) the transfer had not been made; and

                             (C) such creditor received payment of such debt
                         to the extent provided by the provisions of this title.

11 U.S.C. § 547(b).

       At the summary judgment stage, Defendants did not dispute any of the § 547(b) elements

with respect to any of the transfers at issue, except one — the “antecedent debt” element in

§ 547(b)(2).14 Defendants argued that the transfers at issue were not “for or on account of an

antecedent debt owed by the debtor before such transfer was made” within the meaning of

§ 547(b)(2). In granting partial summary judgment for Plaintiff on this element, the Court

rejected Defendants’ argument, and the Court reiterates that ruling now. In its summary

judgment bench opinion, the Court stated:

                 With respect to the [§] 547(b)(2) antecedent debt element, . . . the
                 [D]efendants argue that this element is not established with respect
                 to the transfers at issue, the payments made to [D]efendants by the
                 [D]ebtor under these consulting agreements because the payments
                 . . . were not due under the terms of those consulting agreements
                 before they were made by the [D]ebtor. The [D]efendants’ concept
                 . . . of antecedent debt . . . is that a debt is not incurred by a debtor
                 until the debt is due to be paid — [until] payment is due. The
                 [P]laintiff on the other hand argues that the [D]ebtor incurred a
                 debt under each of the consulting agreement[s], . . . when those
                 agreements were made; that is, when each agreement was signed
                 on March 21, 2012, even though the payments later made by the

       14
            See Tr. of Summ. J. Bench Op. at 11.

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           [D]ebtor to each of the [D]efendants . . . were not due under the
           terms of those agreements to be paid until a later date.

           The Court has reviewed carefully the cases cited by each of the
           parties on this issue of antecedent debt, and the Court agrees with
           the reasoning and holding of the bankruptcy court in the Enron
           case relied heavily upon by the Plaintiff Trustee with respect to this
           antecedent debt issue. The Enron case is the Official Committee
           [of Unsecured Creditors of Enron Corp., v. Whalen (In re Enron
           Corp.)], 357 B.R. 32[, 38-49 (Bankr. S.D.N.Y. 2006)]. I also agree
           with the cases discussed and cited by the Enron court that are
           consistent with the Enron court’s holding and reasoning . . . .

           The Court therefore holds that a debtor’s debt is incurred and arises
           for Section 547(b)(2) purposes as soon as the debt exists, even [if]
           at that time it is still a contingent or unmatured debt, and therefore
           the debt is not yet due to be paid. And I agree in particular with the
           Enron court’s reasoning expressed at 357 B.R. [at 47-48] . . . .

           The consequence of this is that . . . payments made on that debt at a
           later time are and must be deemed to be payment of an antecedent
           debt . . . .

           Applying these concepts to this case, in this case the [D]ebtor’s
           debt to each of the [D]efendants under their respective consulting
           agreements was incurred and arose and existed as soon as the
           [D]ebtor and each [Defendant] signed their respective consulting
           agreements, and in the case of each of these agreements that date
           was March 21, 2012 and that’s not disputed. . . . This is so even
           though the payments due to the [D]efendants under these
           agreements did not become due until later dates. For example . . .,
           as [D]efendants point out, the payment of their salary amounts
           were to be paid under these agreements . . . weekly in advance.
           The . . . [D]ebtor’s debt . . . under these consulting agreements
           existed . . . as of March 21, 2012 even though as of that date it may
           have been contingent upon later performance of their duties under
           the agreement by the [D]efendants, and even though the debt did
           not mature or become due to be paid until later.

           It follows, therefore, that all of the payments made . . . by the
           [D]ebtor to each of the [D]efendants under the consulting
           agreements, were . . . transfers . . . “for on account of an antecedent
           debt owed by the [D]ebtor before such transfer was made,” within
           the meaning of Section 547(b)(2) of the Bankruptcy Code. The


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                 Court finds that there is no genuine dispute of fact about this and
                 that Plaintiff Trustee is entitled to such a finding as a matter of
                 law.15

       3. Defendants’ “ordinary course of business” defense under § 547(c)(2)

       In opposing Plaintiff’s summary judgment motion, Defendants argued that the transfers

are not avoidable based on the affirmative defense under § 547(c)(2).16 That subsection provides:

                 (c) The trustee may not avoid under this section a transfer—
                 ...

                     (2) to the extent that such transfer was in payment of a debt
                 incurred by the debtor in the ordinary course of business or
                 financial affairs of the debtor and the transferee, and such transfer
                 was—

                     (A) made in the ordinary course of business or financial affairs
                 of the debtor and the transferee; or

                     (B) made according to ordinary business terms[.]

11 U.S.C. § 547(c)(2). The Court granted summary judgment for Plaintiff on this defense. The

Court reiterates that ruling now. In its summary judgment bench opinion, the Court stated:

                 I agree with and find instructive . . . [the case of TSIC, Inc. v.
                 Thalheimer, (In re TSIC, Inc.), 428 B.R. 103, 116 (Bankr. D. Del.
                 2010)]. . . . In discussing the ordinary course of business defense,
                 the court made the following points[:] . . . . . “[Section
                 547(c)(2)’s] purpose is to leave undisturbed normal financial
                 relations between a debtor and its creditors, even as a company
                 approaches bankruptcy. . . . The term ‘ordinary course of business’
                 protects ‘recurring, customary credit transactions that are incurred
                 and paid in the ordinary course of business of the debtor and the
                 debtor’s transferee.’ . . . Courts hold that when a debtor transfers
                 funds for the sole benefit of an insider, the transfer is not
                 considered in the ordinary course of business.” [Id. (italics in
                 original) (citations omitted)].


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            Tr. of Summ. J. Bench Op. at 12-15.
       16
            Defendants have the burden of proving any defense under § 547(c). 11 U.S.C. § 547(g).

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                   A little later on the same page the TSIC court finds that the
                   defendant’s severance payment in that case . . . did not have the
                   benefit of the ordinary course of business defense in part because
                   . . . “Thalheimer’s severance was a transfer made to an insider at a
                   time when the Debtor suffered from severe financial distress,
                   therefore making the payment extraordinary and avoidable.” . . .

                   [B]ased on the facts established by the evidence in the record about
                   which there is no genuine dispute, the Court finds that the transfers
                   at issue in each of these adversary proceedings to the [D]efendants
                   under the consulting agreements were not in any part . . . in the
                   words of [§] 547(c)(2), . . . “payment of a debt incurred by the
                   debtor in the ordinary course of business or financial affairs of the
                   debtor and the transferee.” . . .

                   The . . . relevant facts . . . include the following, and most or all of
                   these facts are established and admitted by each of the
                   [D]efendants in their affidavits that were filed as exhibits . . .
                   opposing the Trustee's summary judgment motion. The affidavits
                   . . . are filed as attachments to Docket Number 47 in case number
                   13-5094 and Docket Number 45 in case number 13-5095.17 And
                   th[e] paragraph[s] in the affidavits that establish these facts
                   include in the Karafa affidavit, Paragraphs 1, 2, 9, 10, 11, 13, 16 [.
                   . . and 25]. And then the Ross affidavit, Paragraphs 1, 2, 11, 12,
                   13, 18, 19, 22, 23[.]

                   The facts include the following:

                   . . . The debts [incurred under the consulting agreements, which
                   were . . . signed by the parties on March 21, 2012] were incurred
                   by the [D]ebtor to two of the [D]ebtor’s insiders. There’s no
                   dispute about that. Mr. Ross was the president of the [D]ebtor.
                   Mr. Karafa was the treasurer, [and] chief operating officer of the
                   [D]ebtor at the time. There is no dispute . . . that the [D]efendants
                   were insiders of the [D]ebtor.

                   The debts were incurred by the [D]ebtor at a time when what was
                   by far the [D]ebtor’s primary asset and business[,] its subsidiary
                   bank, Fidelity Bank, had been, . . . “in a distressed financial
                   condition” . . . for approximately four years between 2008 and


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              These affidavits of Ross and Karafa also were admitted into evidence at trial, as PX-26 and
PX-27.

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                 2012. That’s according to the Ross and Karafa affidavits and I’m
                 quoting from them. And as of March 19, 2012 Fidelity Bank . . .
                 “was in imminent danger of closing and receivership by the
                 FDIC[.]” . . .

                 The consulting agreements . . . were made . . . at a time when the
                 [D]ebtor, the [D]ebtor’s board of directors, and the [D]efendants
                 all expected that the bank, Fidelity Bank, would shortly be closed,
                 which of course it’s undisputed the bank was closed [and] taken
                 over on March 30, 2012. That is a takeover which Mr. Ross in
                 Paragraph 22 of his affidavit describes as the long anticipated
                 FDIC takeover of the bank.

                 When the consulting agreements were made, their purpose, as was
                 clear to all the parties involved, was to keep the [D]efendants
                 working for the [D]ebtor for . . . “for winding down of the
                 [D]ebtor’s business operations and to help the [D]ebtor deal with
                 various operating and winding down issues.”

                 When the consulting agreements were made the [D]ebtor and the
                 [D]efendants all contemplated that the [D]ebtor would file
                 bankruptcy. That is established . . . [by] Paragraph 23 of the
                 Karafa affidavit.

                 Given all of these facts admitted by the [D]efendants, it is clear
                 that the [§] 547(c)(2) defense cannot be proven by the
                 [D]efendants; rather, that defense is negated and entirely without
                 merit beyond any genuine dispute of material fact because the
                 [D]ebtor’s debt that was paid by the transfers sought to be avoided
                 by Trustee was not debt incurred by the [D]ebtor in the ordinary
                 course of business or financial affairs of the [D]ebtor and the
                 transferees. Therefore, the Plaintiff Trustee is entitled to partial
                 summary judgment in Plaintiff’s favor on the [D]efendants’
                 [§] 547(c)(2) ordinary course of business defense . . . .18

       4. Defendants’ § 547(c)(1) defense (contemporaneous exchange for new value)

       (a) Elements of the defense

       At trial, Defendants bore the burden of proving, by a preponderance of the evidence, that

the transfers were not avoidable based on their remaining defenses under § 547(c), namely,

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            Tr. of Summ. J. Bench Op. at 17-20.

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§§ 547(c)(1) and 547(c)(4). See 11 U.S.C. § 547(g).

       Section 547(c)(1) states:

               (c) The trustee may not avoid under this section a transfer—

                   (1) to the extent that such transfer was—

                       (A) intended by the debtor and the creditor to or for whose
               benefit such transfer was made to be a contemporaneous exchange
               for new value given to the debtor; and

                       (B) in fact a substantially contemporaneous exchange[.]

11 U.S.C. § 547(c)(1). Defendants contend that all of the transfers satisfy the elements of this

defense.

       First, Defendants argue that the text of their Consulting Agreements with the Debtor

shows that the Debtor and the Defendants “intended” for each of the 32 payments that the Debtor

made to the each of the Defendants to be a “contemporanous exchange” for “new value given to

the [D]ebtor,” within the meaning of § 547(c)(1)(A).

       Second, Defendants argue that each of the 32 payments they each received from the

Debtor was “in fact a substantially contemporaneous exchange” for “new value” that Defendants

gave to the Debtor, in the form of services they performed under the Consulting Agreements,

within the meaning of § 547(c)(1)(B).

       The elements that a creditor must prove under § 547(c)(1) include the following:

               The contemporaneous exchange exception under section 547(c)(1),
               thus, has three elements (1) both the debtor and creditor must
               intend the transfer to be a contemporaneous exchange; (2) the
               exchange must, in fact, be contemporaneous; and (3) the exchange
               must be for a new value.

See Stevenson v. Leisure Guide of Am., Inc., (In re Shelton Harrison Chevrolet, Inc.), 202 F.3d



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834, 837 (6th Cir. 2000) (citation omitted).

       The second of these elements — actual contemporaneousness — requires “that there must

be ‘temporal proximity between the [new value] and the [debtor’s] transfer . . . .’” McLemore v.

Third Nat’l Bank in Nashville, (In re Montgomery), 123 B.R. 801, 812 (Bankr. M.D. Tenn.

1991), aff’d, 136 B.R. 727, aff’d, 983 F.2d 1389 (6th Cir. 1993) (quoting Ray v. Sec. Mut. Fin.

Corp. (In re Arnett), 731 F.2d 358, 364 (6th Cir. 1984)).

       When the “new value” alleged by the creditor is from services, the alleged “new value” is

deemed to have been given on the date(s) the services were performed. Webster v. Harris Corp.

(In re NETtel Corp., Inc.), 319 B.R. 290, 295 (Bankr. D.D.C. 2004); Excel Enters., Inc. v. Sikes,

Gardes & Co. (In re Excel Enters., Inc.), 83 B.R. 427, 431 (Bankr. W.D. La. 1988).

       (b) The meaning of “new value”

       The “new value” that the Defendants say they gave to the Debtor was in the form of the

services they performed under their Consulting Agreements. The phrase “new value,” as used in

§ 547, is defined in § 547(a)(2). Under that definition, “services” alone are not “new value.” But

“money’s worth in . . . services” can be “new value.” Section 547(a)(2) states:

               (a) In this section –
               ...

                        (2) “new value” means money or money’s worth in
               goods, services, or new credit, or release by a transferee of
               property previously transferred to such transferee in a transaction
               that is neither void nor voidable by the debtor or the trustee under
               any applicable law, including proceeds of such property, but does
               not include an obligation substituted for an existing obligation[.]

11 U.S.C. § 547(a)(2) (emphasis added).

       Under the “money’s worth” wording of this definition, therefore, it is clear that services



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must have monetary value in order to be “new value.” And in its summary judgment decision,

this Court made a more detailed ruling about what “new value” means under the § 547(a)(2)

definition. In doing so, this Court borrowed, in part, from its earlier decisions discussing the

concept of “value” as that term is defined in Bankruptcy Code § 548, the fraudulent transfer

statute. See 11 U.S.C. § 548(d)(2)(A).19

        The Court ruled as follows, and now reiterates its ruling:

                 Among other things Plaintiff Trustee argues that . . . in order to be
                 . . . considered value[] under [§] 547(c)(1) and [§] 547(c)(4) . . .
                 there must have been a direct or indirect economic benefit to
                 the [D]ebtor viewed from the perspective of the [D]ebtor’s
                 creditors. I discuss this concept and the applicable Sixth Circuit
                 case law on this concept of value in [the following cases, and I
                 incorporate by reference that discussion here]. [The following
                 cases] discuss the concept of value in the context of “reasonably
                 equivalent value” as that phrase is used in [§] 548(a)(1)(B). Th[e]
                 cases are [Gold v. Marquette University (In re Leonard), 454 B.R.
                 444, 455-59 (Bankr. E.D. Mich. 2011); Franklin Advisors, LLC v.
                 Sherwood Management Corp. (In re: Whyco Finishing
                 Technology, LLC), 500 B.R. 517, 531-33 (Bankr. E.D. Mich.
                 2011); and Lisle v. John Wiley & Sons, Inc. (In re Wilkinson), 196
                 Fed. App’x. 337, No. 05-5744, 2006 WL 2380887 (6th Cir. Aug.
                 17, 2006).]

                 The concept or the types of direct or indirect value to the
                 [D]ebtor that in my view are cognizable and can be recognized


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             See Gold v. Marquette Univ. (In re Leonard), 454 B.R. 444, 455 (Bankr. E.D. Mich. 2011):

                 The Bankruptcy Code does not define the phrase “reasonably equivalent
                 value.” But the Code defines “value,” for purposes of
                 § 548, as “property, or satisfaction or securing of a present or antecedent
                 debt of the debtor, but [it] does not include an unperformed promise to
                 furnish support to the debtor or to a relative of the debtor.” 11 U.S.C.
                 § 548(d)(2)(A).

An important difference between the § 548 definition of “value,” on the one hand, and the § 547
definition of “new value,” on the other hand, of course, is that in the latter definition, “new value” does
not include satisfaction of an antecedent debt.

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                 as value . . . under these [§] 547(c) defenses, include the
                 provision by the [D]efendants of work or services that did any
                 of the following: [(1)] brought in money to the [D]ebtor or the
                 [D]ebtor’s bankruptcy estate; . . . [(2)] saved the [D]ebtor or
                 the bankruptcy estate expense; or [(3)] reduced or eliminated
                 or avoided liability for, or [reduced] liability for the [D]ebtor
                 []or the bankruptcy estate.

                 The Court concludes that on the present record, and viewing the
                 evidence in the light most favorable to the [D]efendants as I must
                 do in ruling on these summary judgment motions, there are
                 genuine issues of material fact that exist that preclude summary
                 judgment for the Plaintiff Trustee on the [D]efendants’ [§§]
                 547(c)(1) and 547(c)(4) defenses, including the issue of whether
                 the [D]efendants’ services performed under the consulting
                 agreement[s] gave value and gave new value to the [D]ebtor,
                 and if so, how much is the value of such value and new value.20

See also Phoenix Rest. Grp., Inc. v. Fuller, Fuller & Assocs., P.A. (In re Phoenix Rest. Grp.,

Inc.), 316 B.R. 671, 679-80 (Bankr. M.D. Tenn. 2004) (citations omitted) (“‘A vast majority of

courts agree that 'new value' for purposes of § 547 must be something of tangible economic

value.’” This view is in keeping with the purpose new value serves: replenishing the estate.”).

       (c) Defendants’ burden to quantify the value of the “new value” they gave

       With respect to the third element stated in Stevenson, that “the exchange must be for a

new value,” each Defendant argues that the amount of the value he gave in exchange for a

substantially contemporaneous transfer to him is not relevant. For example, Defendants argue,

there is no requirement that the new value be at least equivalent or reasonably equivalent in value

to the amount of the transfer. Defendants argue that the Court need not measure or determine the

amount of value provided by any given services they performed, as long as the services provided

value of any amount to the Debtor.



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            Tr. of Summ. J. Bench Op. at 22-23 (emphasis added).

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        Defendants make this argument only with respect to their contemporaneous new value

defense under § 547(c)(1). Defendants explicitly disclaim any such argument under their

§ 547(c)(4) subsequent new value defense, which the Court discusses in Part IV.A.5 of this

opinion, below.21

        To illustrate Defendants’ argument, consider as an example one of the transfers made by

the Debtor to Defendant Michael Ross: the payment made by the Debtor to Ross by the check

dated April 9, 2012 in the amount of $6,867.00, which was payment of Ross’s weekly salary

under his Consulting Agreement with the Debtor for the week of April 8-14, 2012. (See the first

table in Part IV.A.1 of this opinion.) Under Defendants’ argument, Ross does not need to prove

that he performed services during the week of April 8-14, 2012 of a value which equaled or

approximated at least $6,867.00. Rather, Defendants say, it is enough for Ross to prove that

during that week he performed some services for the Debtor under his Consulting Agreement,

which had economic value to the Debtor of any amount, however small. If Ross proves that

much, Defendants argue, he has demonstrated that he gave the Debtor “new value” that week,

sufficient to support a complete defense to avoidance of any of the $6,867.00 transfer he received

for that week. So even if the value of Ross’s services for that week was only $100.00, he argues

that he has a complete defense to avoidance of the entire $6,867.00 transfer made to him for that

week, under § 547(c)(1).

        In support of their argument that the amount of the new value given is not important, for

§ 547(c)(1) purposes, Defendants cite two cases from 30 years ago, each decided by the United


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            See, e.g., [Defs.’] Resp. to Trustee’s Mot. in Limine (Docket # 82 in Adv. No. 13-5094;
Docket # 78 in Adv. No. 13-5095) at 4 (“[I]n the context of § 547(c)(4), . . . the defense is specifically
limited to the extent of the new value provided subsequent to the transfers at issue. As such, Ross and
Karafa agree that the value of the new value is properly an issue on their § 547(c)(4) defense. . . .”)

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States Court of Appeals for the Tenth Circuit: Kenan v. Fort Worth Pipe Co. (In re George

Rodman, Inc.), 792 F.2d 125 (10th Cir. 1986); and Spears v. Mich. Nat’l Bank (In re J.D. Allen),

888 F.2d 1299 (10th Cir. 1989).

       In Kenan, the debtor’s business was drilling oil and gas wells. The defendant creditor had

supplied materials to the debtor, and was owed $238,842 for materials supplied to the debtor for

use on a particular well. The creditor had a valid materialmen’s lien on that well. “The well was

expected to produce oil and gas, and the debtor was able to obtain a loan on the condition that the

lien on the well be released.” 792 F.2d at 126. Within the 90-day preference period, the debtor

paid the creditor the amount owed on the well, and in exchange the creditor released its lien on

the well. Id.

       After the debtor filed bankruptcy, the Chapter 7 trustee sued the creditor, seeking to avoid

the debtor’s payment as a preference under § 547(b). The creditor argued that it had a complete

defense to avoidance under § 547(c)(1), because the creditor had provided new value in the form

of the lien release in exchange for the debtor’s payment. At trial, the parties agreed that at the

time of the transfer and lien release, the well may have had some value, but that at the time of

trial the well had been plugged and had no value. See id. The bankruptcy court rejected the

creditor’s defense. The bankruptcy court found that the creditor did not provide “new value” to

the debtor when the creditor released its lien, because viewing the value of the well retroactively

at the time of trial, the well had no value. See id.

       On appeal, the Tenth Circuit Court of Appeals reversed the bankruptcy court, and held

that the creditor had a complete defense under § 547(c)(1). The court relied on a different part of

the statutory definition of “new value” than the part involved in this case. The court held that the



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creditor’s release of its lien on the debtor’s well was “new value” given to the debtor under the

§ 547(a)(2) definition, because it was a “release by a transferee of property of previously

transferred to such transferee in a transaction that is neither void nor voidable by the debtor or the

trustee under any applicable law.” See id. at 127-28; 11 U.S.C. § 547(a)(2) (quoted in full

above). The court held that the creditor’s release of its lien satisfied the literal requirements of

that part of the definition, reasoning:

                 [T]here was a release by a transferee (appellant [creditor]) of
                 property (the lien) previously transferred to such transferee. No
                 evidence has been presented that the transaction is void or voidable
                 by the debtor or the trustee under any applicable law. The
                 exchange, therefore, satisfies the literal requirements of the
                 definition of “new value.”

 Id. (footnotes omitted).

          The Kenan Court then held, at least with respect to the part of the § 547(a)(2) definition

of “new value” at issue in that case, that it was not necessary to make a valuation of the lien

released by the creditor in exchange for the debtor’s transfer. The court held that “[t]he plain

language of the definition does not require the valuation of the property transferred” and that “the

value of the exchange is not a consideration for purposes of § 547(c)(1).” Id. at 128. The court

contrasted § 547(c)(1) in this regard with the Bankruptcy Code’s fraudulent transfer provision,

now found in 11 U.S.C. § 548(a)(1)(B)(I), which, in part, provides for the avoidance of a transfer

if the debtor “received less than a reasonably equivalent value in exchange for such transfer[.]”

See id.

          Three years after Kenan, the Tenth Circuit followed the Kenan case, in the case of Spears

v Mich. Nat’l Bank (In re J.D. Allen), 888 F.2d 1299 (10th Cir. 1989). In that case, the debtor

had borrowed money from the defendant bank, secured by a security interest in the debtor’s


                                                   25


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contract rights under a contract described as a “Purchase and Escrow Agreement.” The court

held that this was a security interest in a general intangible, and that it had been properly

perfected by the bank. Id. at 1302. Three months after giving the security interest, the debtor

transferred to the bank all of his rights under his contract, in exchange for payment of $75,000

from the bank. Id. at 1301. The bankruptcy trustee later sued the bank to avoid this transfer of

the debtor’s contract rights, as a preference. The bankruptcy court granted summary judgment

for the bank, which the district court and the court of appeals affirmed. Id.

        In Spears, the appeals court ruled that the debtor’s transfer to the bank was entirely

protected from avoidance under the contemporaneous exchange defense in § 547(c)(1), because

the bank’s $75,000 payment to the debtor was made at the same time the debtor transferred his

contract to the bank, and in exchange for that transfer. Id. at 1302-03. The court held this

without considering how the bank’s $75,000 payment (the new value) compared to the value of

the contract rights the debtor transferred. The court cited and followed the Kenan case, noting

that in Kenan, “this court held that the ‘new value’ requirement under the Bankruptcy Code

should be construed liberally and that the valuation of the transfer is not a consideration.” Id. at

1302.

        The Kenan and Spears cases support Defendants’ position. But as Plaintiff correctly

points out, these Tenth Circuit cases have since been undermined by later decisions of the Tenth

Circuit, and Defendants’ position has been rejected by the courts of appeal in five of the other

federal circuits, and by lower court decisions. In fact, it appears that every reported case to

consider the issue after Kenan and Spears has rejected Defendants’ position. (The Sixth Circuit

Court of Appeals has not ruled on the issue). The court of appeals cases rejecting Defendants’



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position, grouped by circuit, include the following:

Ninth Circuit:

• Sulmeyer v. Suzuki (In re Grand Chevrolet, Inc.), 25 F.3d 728, 733-34 (9th Cir 1994), as

amended on denial of reh’g (June 24, 1994):

       • This case cited and followed an earlier Ninth Circuit case, Milchem, Inc. v. Fredman (In

       re Nucorp Energy, Inc.); 902 F.2d 729, 733 (9th Cir. 1990) (“[A] court must measure the

       value given to the creditor and the new value given to the debtor in determining the extent

       to which the trustee may avoid a contemporaneous exchange.”) Id. at 733 (internal

       quotation marks omitted).

       • The court further held that “[t]he extent to which the [debtor’s] transfers will be

       shielded by the contemporaneous exchange exception will depend on” what value the

       trial court attaches to the alleged value given by the creditor. Id. at 734.

Eleventh Circuit:

• Jet Florida, Inc. v. American Airlines, Inc. (In re Jet Florida Systems, Inc.), 861 F.2d 1555,

1558-59 (11th Cir. 1988):

       • In Jet Florida, the preference defendant, in alleging a defense under § 547(c)(1), made

       the same type of argument Defendants make in this case. As the Jet Florida court

       described it, “rather than offer evidence of the value of the new credit extended or the

       services rendered to [the debtor], [the defendant] proffered the novel theory that it need

       only show that some new value was intended.” 861 F.2d at 1558. In rejecting this

       argument, the court of appeals held:

               Construing the whole of section 547, however, we conclude that
               Congress was clear in requiring that a party seeking the shelter of


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               section 547(c)(1) must prove the specific measure of the new value
               given to the debtor in the exchange.

               Section 547(c)(1) protects transfers only “to the extent” the transfer
               was a contemporaneous exchange for new value. A court must
               measure the value given to the creditor and the new value given to
               the debtor in determining the extent to which the trustee may void
               a contemporaneous exchange. This provision indicates that a
               creditor seeking the protection of section 547(c)(1) must prove
               with specificity the new value given to the debtor.

               Furthermore, the applicable statutory definition of “new value” that
               Congress provided in section 547(a)(2) expressly requires that the
               creditor prove the specific valuation of the “new value.” The
               relevant language for the purpose of deciding this case is the
               section’s definition of “new value” as “money or money’s worth in
               goods, services, or new credit.” This language necessarily requires
               a specific dollar valuation of the “new value” — the “money's
               worth” — that the debtor received in the exchange.
               ...

               Thus, we conclude that a creditor must, as a part of its section
               547(c)(1) affirmative defense, prove the specific valuation of the
               “money or money’s worth in goods, services, or new credit” that
               the debtor received as “new value” in the contemporaneous
               exchange.

       861 F.2d at 1558-59 (footnotes omitted); see also Official Unsecured Creditors’ Comm.

v. Airport Aviation Servs., Inc. (In re Arrow Air, Inc.), 940 F.2d 1463, 1466 (11th Cir. 1991)

(citing Jet Florida, 861 F.2d at 1558-59) ([“[A] party seeking to shelter a payment under the

contemporaneous-exchange-for-new-value exception must do more than simply show that some

new value was given the debtor; a party relying on the protection provided by this section must

prove with specificity the measure of new value given the debtor in the exchange transaction he

seeks to protect-and the challenged payment is protected only to the extent of the specific

measure of new value shown.”).




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Third Circuit:

• Creditors’ Comm. v. Spada (In re Spada), 903 F.2d 971, 975-77 (3d Cir. 1990):

       • This case agreed with Jet Florida, and held:

              Apparently the bankruptcy court concluded that once the creditor
              demonstrates that new value of any amount was conveyed to the
              debtor the entire transfer falls within the section 547(c)(1)
              exception to the preferential transfer rule. This implicit conclusion
              is contrary to both the language of the statute and the policy behind
              the preferential transfer rule. The plain language of section
              547(c)(1) expressly states that a trustee is unable to avoid a transfer
              “to the extent that such transfer was intended ... to be a
              contemporaneous exchange for new value given to the debtor.”
              (Emphasis added).
              ...

              We have examined the plain meaning of sections 547(c)(1) and
              547(a)(2) in the context of the Bankruptcy Code as a whole and
              conclude that a determination of how much “new value” was
              involved in the exchange is mandated.

       903 F.2d at 975-76 (italics in original).

       • After describing the reasoning and holding in the Jet Florida case and agreeing with it,

       the Spada court discussed the Tenth Circuit’s decision in Kenan (also known as In re

       George Rodman, Inc.), disagreed with it, and noted that the Tenth Circuit had abandoned

       its decision in Kenan:

              We agree with this reasoning [in Jet Florida] in its entirety. We
              are aware that the Court of Appeals for the Tenth Circuit appeared
              to reject this position in In re George Rodman, Inc., 792 F.2d 125,
              128 (10th Cir.1986) . . .; however, that court has subsequently
              abandoned that position, distinguished In re George Rodman on
              the facts, and followed Jet Florida. In re Robinson Bros. Drilling,
              Inc., 877 F.2d 32, 33-34 (10th Cir.1989)[.]

       903 F.2d at 977 (citation omitted); see also Reigel v. Mahajan (In re Kumar Bavishi &

Assocs.), 906 F.2d 942, 949-50 (3d Cir. 1990) (same).


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Fifth Circuit:

• Southmark Corp. v. Schulte Roth & Zabel (In re Southmark Corp.), 239 F.3d 365, 2000 WL

1741550, at *3 (5th Cir. Nov. 7, 2000), as amended on reh’g (Dec. 11, 2000) (unpublished table

decision) (citing Spada and Jet Florida):

       • In this case, the Fifth Circuit held that “because [under § 547(c)(1)] the avoidable

       transfer is set off only to the extent that new value is given, the creditor is required to

       demonstrate the ‘specific measure’ of the new value received by the debtor.”

       • The court also quoted the Fifth Circuit’s earlier decision in Gulf Oil Corp. v. Fuel Oil

       Supply & Terminaling, Inc. (In re Fuel Oil Supply & Terminaling, Inc.), 837 F.2d 224,

       228 (5th Cir. 1988) (quoting A.I. Credit Corp. v. Drabkin (In re Auto-Train Corp.), 49

       B.R. 605, 612 (Bankr. D.C. 1985) for the proposition that “[t]he defense under

       § 547(c)(1) ‘is grounded in the principle that the transfer of new value to the debtor will

       offset the payments, and the debtor’s estate will not be depleted to the detriment of other

       creditors.’” Southmark, 2000 WL 1741550, at *3 n.1 (internal quotation marks omitted).

Fourth Circuit:

• Campbell v. The Hanover Ins. Co. (In re ESA Envtl. Specialists, Inc.), 709 F.3d 388, 398-99

(4th Cir. 2013) (internal quotation marks and citations omitted):

       • In this case the Fourth Circuit held that “the party asserting the new value defense”

       under § 547(c)(1) “must prove with specificity the new value given to the debtor” and, in

       order to have a complete defense, must prove “with specificity” that the value given by

       the creditor in exchange for the debtor’s transfer “had a value at least as great as the

       amount of the alleged preferential transfer[.]”)



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       • The Campbell court noted the following about the § 547(c)(1) defense:

               When evaluating a new value defense, the key question is whether
               the alleged preferential transfer diminished the debtor’s estate, i.e.,
               whether the debtor in fact acquired a new asset that offset the loss
               and value to the estate when the debtor transferred existing assets
               to acquire the new asset at issue.

       709 F.3d at 398 (citation omitted).

Tenth Circuit:

       The holdings in the Kenan and Spears cases relied upon by Defendants, are no longer

good law in the Tenth Circuit, because of two later Tenth Circuit cases, Lowrey v. U.P.G., Inc.

(In re Robinson Bros. Drilling, Inc.), 877 F.2d 32 (10th Cir. 1989) and Elec. Metal Prods., Inc. v.

Bittman (In re Elec. Metal Prods., Inc.), 916 F.2d 1502 (10th Cir. 1990).

       • In Lowery, the Tenth Circuit interpreted its earlier decision in Kenan (also known as In

       re George Rodman, Inc.) in such a way as to overrule Kenan, without explicitly saying so.

               First, the Lowery court interpreted Kenan to mean only that a creditor who gives

       value to the debtor equivalent to the full amount of the transfer received from the debtor

       has a complete defense under § 547(c)(1):

               Although not explicitly stated in the opinion, it is elementary that
               the creditor in In re George Rodman, Inc. was entitled to the
               § 547(c)(1) defense because it released a lien equivalent to the
               full amount of the transfer by the debtor. Thus, the estate was
               not diminished by the transfer because the creditor was secured
               by a valid lien to the full extent of transfer by the debtor, and
               the goals of the § 547(c)(1) defense were met.

       877 F.2d at 33-34 (emphasis added).

               Second, the Lowery court quoted the Jet Florida case with approval, including the

       propositions that: (1) “‘a party seeking the shelter of section 547(c)(1) must prove the



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       specific measure of the new value given to the debtor in the exchange[;]’” and (2) that

       this section “‘protects transfers only “to the extent” the transfer was a contemporaneous

       exchange for new value. A court must measure the new value given to the creditor and

       the new value given to the debtor in determining the extent to which the trustee may void

       a contemporaneous exchange[;]’” and (3) “the Bankruptcy Code’s definition of the term

       ‘new value’ implies that the creditor must prove the specific valuation in ‘money or

       money’s worth in goods, services or new credit.’” Id. at 34 (quoting Jet Florida).

       • In Electronic Metal Products, Inc., the Tenth Circuit quoted Lowery with approval,

which case cited Jet Florida, and held that the § 547(c)(1) defense requires the creditor to prove

“‘the specific valuation’” of the alleged new value it gave to the debtor. See 916 F.2d at 1506.

       In addition to the courts of appeal in the six circuits listed above (including the Tenth

Circuit) that have rejected Defendants’ position, lower courts also have done so, including a

bankruptcy court case within the Sixth Circuit. See McLemore v. Third Nat’l Bank in Nashville

(In re Montgomery), 123 B.R. 801, 812 (Bankr. M.D. Tenn. 1981) (citations omitted) (“The party

asserting the § 547(c)(1) defense must prove the specific measure of the new value given to the

debtor in ‘money or money’s worth in goods, services, or new credit . . . .’”); see also Simon v.

Engineered Prot. Sys., Inc. (In re Hatfield Electric Co.), 91 B.R. 782, 784 (Bankr. N.D. Ohio

1988) (citations omitted) (“[The] [c]ontemporaneous exchange exception in Section 547(c)(1) is

premised, inter alia, on the presumption that receipt of new value offsets the transfer and the

estate is not depleted or diminished to the detriment of other creditors.”); 5 Collier on

Bankruptcy ¶ 547.04[1], at 547-44 (Richard Levin & Henry J. Sommer, eds., 16th ed. 2017)

(“Section 547(c)(1) protects transfers only to the extent of the new value given. Thus, if the



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debtor transfers $50,000 to the creditor in exchange for the release of a lien on collateral worth

$30,000, the difference of $20,000 is not protected from avoidance under the contemporaneous

exchange exception.”) (footnote omitted) (citations omitted).

        The Court rejects Defendants’ argument. The Court agrees with what now appears to be

the unanimous view, as shown by the cases cited above, that a defendant asserting the

contemporaneous new value defense under § 547(c)(1) must prove the amount of the value of

any “new value” provided to the Debtor, and has no § 547(c)(1) defense beyond the amount of

such value.

        Defendants make two primary arguments in support of their view of § 547(c)(1), both of

which have been rejected by cases cited above. First, Defendants focus on the difference

between the wording of § 547(c)(1) and the wording of § 547(c)(4), and argue that the difference

in wording shows a Congressional intent that the amount of new value be relevant under

§ 547(c)(4), but not be relevant under § 547(c)(1).

        The difference in wording is in the placement of the phrase “to the extent that” in the two

subsections. Section 547(c)(4) says in pertinent part that a transfer is not avoidable as a

preference if the transfer is “to or for the benefit of a creditor, to the extent that, after such

transfer, such creditor gave new value to or for the benefit of the debtor . . . .” 11 U.S.C.

§ 547(c)(4) (emphasis added).22 Defendants agree that under this wording, the defense is


        22
             The full text of § 547(c)(4) is this:

                  (c) The trustee may not avoid under this section a transfer—
                  ...

                      (4) to or for the benefit of a creditor, to the extent that, after such
                  transfer, such creditor gave new value to or for the benefit of the
                  debtor—

                                                       33


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available only to the extent of the amount of the subsequent new value given to the Debtor. And

Defendants agree that the purpose of § 547(c)(4) is, in effect, to credit a transferee who after the

transfer gives unpaid-for new value to the debtor, because that transferee is considered to have

replenished the bankruptcy estate to the extent of that new value given. Given this purpose, the

amount of the subsequent new value is a critical limit on the defense.

       The phrase “to the extent that” also appears in § 547(c)(1), but in a somewhat different

way than in § 547(c)(4). Section 547(c)(1) says:

               (c) The trustee may not avoid under this section a transfer—

                     (1) to the extent that such transfer was—

                       (A) intended by the debtor and the creditor to or for whose
               benefit such transfer was made to be a contemporaneous exchange
               for new value given to the debtor; and

                        (B) in fact a substantially contemporaneous exchange[.]

11 U.S.C. § 547(c)(1) (emphasis added). Defendants argue that under this wording the defense is

not limited “to the extent” of the new value given by the creditor — i.e., to the amount of such

new value given. Rather, Defendants say that here, the phrase “to the extent that” only applies to

(1) the parties intent that an exchange be contemporanous; and (2) the exchange being in fact

substantially contemporanous. According to Defendants, the phrase “to the extent that” does not

apply to the “new value” given.




                        (A) not secured by an otherwise unavoidable security interest;
               and

                       (B) on account of which new value the debtor did not make an
               otherwise unavoidable transfer to or for the benefit of such creditor;

11 U.S.C. § 547(c)(4) (emphasis added).

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        The many cases cited and quoted above have rejected Defendants’ interpretation of

§ 547(c)(1), and have held that the defense is limited to the amount of new value given to the

debtor in exchange for a transfer. This Court agrees with those cases, and rejects Defendants’

interpretation.

        One reason why this Court does so is that the phrase “to the extent that” in the beginning

of § 547(c)(1) clearly applies both to the phrase in § 547(c)(1)(A) and to the phrase in

§ 547(c)(1)(B). Because it applies to the latter, § 547(c)(1) clearly includes the element that a

transfer is unavoidable only “to the extent that such transfer was . . . in fact a substantially

contemporanous exhange.” But the question then is, a “substantially contemporanous exchange”

for what? The clearly implied answer is, “a substantially contemporanous exchange” for “new

value given to the debtor” (the phrase used in § 547(c)(1)(A).) From this, the Court infers that

the phrase “to the extent that” at the beginning of § 547(c)(1) combines with the rest of that

section’s wording to mean, among other things, that the defense applies only “to the extent that”

the transfer was an exchange for new value given to the debtor. As a result, the Court concludes

that the § 547(c)(1) defense, like the § 547(c)(4) defense, is limited to the amount of new value

given to the debtor. And this clearly is the now-unanimous view taken by the cases summarized

and quoted above.

        Defendants second argument is that the legislative history of § 547(c)(1) supports their

interpretation of the statute. Defendants argue that the history shows a Congressional intent to

protect from preference avoidance transactions that were intended to be essentially simultaneous

exchanges, but which in fact turned out to be only substantially contemporaneous exchanges.

Defendants point out that with an actual simultaneous exchange, there is no credit extended, and



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therefore there is no antecedent debt created that is paid by a transfer from the debtor. So with a

simultaneous exchange, there is no preference avoidance possible, regardless of whether the

exchange was one of equal or comparable value. Thus, for example, a sale of goods for cash

paid by a debtor at the time of sale cannot be deemed a preferential transfer, even if the price paid

by the debtor is much greater than the value of the goods received in exchange. Defendants

argue that Congress intended the same result to occur for exchanges that were intended to be

contemporaneous, but which turned out to be only in fact substantially contemporaneous. And,

Defendants argue, this is so even if the debtor’s transfer was greater in value than the value of

what the debtor received in exchange.

       The United States Court of Appeals for the Sixth Circuit discussed the legislative history

of § 547(c)(1), which the court described as “sparse,” in Ray v. Sec. Mut. Fin. Corp. (In re

Arnett), 731 F.2d 358, 361 (6th Cir. 1984):

               The legislative history of section 547(c)(l) is sparse. The
               Comment to the section provides in its entirety as follows:

                       The first exception [§ 547(c)(l)] is for a transfer that
                       was intended by all parties to be a contemporaneous
                       exchange for new value, and was in fact
                       substantially contemporaneous. Normally, a check
                       is a credit transaction. However, for the purposes of
                       this paragraph, a transfer involving a check is
                       considered to be “intended to be contemporaneous,”
                       and if the check is presented for payment in the
                       normal course of affairs, which the Uniform
                       Commercial Code specifies as 30 days, U.C.C.
                       § 3-503(2)(a), that will amount to a transfer that is
                       “in fact substantially contemporaneous.”

               H.R.Rep. No. 595, 95th Cong., 1st Sess. 373 (1977) [hereinafter
               cited as H.R. 595], U.S.Code Cong. & Admin. News 1978, pp.
               5787, 6329.



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           In enacting the “contemporaneous exchange” exception, Congress
           intended to codify decisions under the old bankruptcy act which
           had held that, when a cash sale was intended, acceptance of a
           check instead of cash did not change the character of the
           transaction, so long as the check was cashed within a reasonable
           period of time. See, e.g., Engstrom v. Wiley, 191 F.2d 684 (9th Cir.
           1951); Engelkes v. Farmers Co-operative Co., 194 F. Supp. 319
           (N.D. Iowa 1961). Some have stated that the provision also
           codified Dean v. Davis, 242 U.S. 438, 37 S. Ct. 130, 61 L. Ed. 419
           (1917), which held that there was no preference where a loan was
           intended by both parties to be a secured loan even though the
           mortgage was not actually executed until seven days after the loan
           was made. See, e.g., In re Advance Glove Mfg. Co., 25 B.R. 521
           (Bkrtcy. E.D. Mich.1982); In re Martella, 22 B.R. 649 (Bkrtcy. D.
           Colo.1982). Whether Dean v. Davis survived passage of the
           Bankruptcy Reform Act of 1978, and was codified into section
           547(c)(1) has been questioned, however. In re Murray, 27 B.R.
           445 (Bkrtcy. M.D. Tenn.1983).

           Nonetheless, it is clear that the classic exception to avoidance
           intended by Congress to be reflected in section 547(c)(l) is the
           exchange of goods or other “value” for a check. Such transactions
           are generally intended to be cash transactions, although some
           extension of credit is necessarily involved until the check is
           negotiated.

           As Richard Levin, a member of the House Judiciary Committee
           staff during the drafting of the Bankruptcy Reform Act of 1978,
           notes, Congress was concerned that these essentially cash
           transactions not be converted to credit transactions because of
           delay in depositing the checks intended as cash payments:

                  . . . The first exception [the contemporaneous
                  exchange exception] is a simple one, excepting a
                  transfer that is really not on account of an
                  antecedent debt. No doubt a purchase by the debtor
                  of goods or services with a check, if deemed to be
                  on credit by state law, would be insulated by this
                  exception. Though strictly speaking the transaction
                  may be a credit transaction because the seller does
                  not receive payment until the check is cleared
                  through the debtor’s bank, it is generally considered
                  and intended to be a contemporaneous transaction,
                  and assuming the check is promptly deposited and


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                       cleared, is in fact substantially contemporaneous.

               “An Introduction to the Trustee’s Avoiding Powers,” 53 Am.
               Bankr. L.J. 173, 186 (Spring 1979).

       The Court finds Defendants’ legislative history argument to be unpersuasive. First, the

Court concludes that the language of § 547(c)(1) is unambiguous, and unambiguously means

what the Court has held it means, above (supported by the now-unanimous view of the many

cases cited above). So resort to legislative history is not permitted. See, e.g., Barnhill v.

Johnson, 503 U.S. 393, 401 (1992) (citing Toibb v. Radloff, 501 U.S. 157, 162 (1991))

(“[A]ppeals to statutory history are well taken only to resolve ‘statutory ambiguity.’”); Olden v.

LaFarge Corp., 383 F.3d 495, 502 (6th Cir. 2004) (citations omitted) (“Rules of statutory

construction teach that generally a court cannot consider the legislative history of a statute in

interpreting its meaning unless the statute is ambiguous.”).

       Second, the most that can be gleaned from the “sparse” legislative history of § 547(c)(1)

is that Congress intended to treat a sale paid for by check the same as a sale paid for by cash, if

the check is cashed within a reasonable time. In that limited situation, at least, the legislative

history shows only an intention that courts overlook the fact that a sale paid for by check is

technically a credit transaction. That does not address the issue now before the Court.

       Third, many court of appeals cases, including at least one decision of the Sixth Circuit,

have held that one of the purposes of § 547(c)(1) is to give credit for new value that replenishes

the debtor’s estate. This purpose is served only to the extent of the amount of the new value

given to the debtor. See, e.g., Stevenson v. Leisure Guide of Am., Inc., (In re Shelton Harrison

Chevrolet, Inc.), 202 F.3d 834, 837 (6th Cir. 2000) (citation omitted) (“The purpose of the

contemporaneous exchange exception is to ‘encourage creditors to continue doing business with


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troubled debtors who may then be able to avoid bankruptcy altogether.’ In addition, this

exception recognizes that the debtor’s payment does not adversely affect other creditors because

the payment is offset by the debtor’s receipt of new value.”); Southmark Corp. v. Schulte Roth &

Zabel (In re Southmark Corp.), 239 F.3d 365, No. 99-11401, 2000 WL1741550, at *3 n.1 (5th

Cir. 2000) (quoting Gulf Oil Corp. v. Fuel Oil Supply & Terminaling, Inc. (In re Fuel Oil Supply

& Terminaling, Inc.), 837 F.2d 224, 228 (5th Cir. 1988)) (“[T]he defense under § 547(c)(1) “‘is

grounded in the principle that the transfer of new value to the debtor will offset the payments,

and the debtor’s estate will not be depleted to the detriment of other creditors.’”); Campbell v.

The Hanover Ins. Co., 709 F.3d at 398 (citation omitted) (noting, about § 547(c)(1), that “[w]hen

evaluating a new value defense, the key question is whether the alleged preferential transfer

diminished the debtor’s estate, i.e., whether the debtor in fact acquired a new asset that offset the

loss in value to the estate when the debtor transferred existing assets to acquire the new asset at

issue.”); see also Simon v. Engineered Prot. Sys., Inc., 91 B.R. at 784 (citations omitted) (“[The]

[c]ontemporaneous exchange exception in Section 547(c)(1) is premised, inter alia, on the

presumption that receipt of new value offsets the transfer and the estate is not depleted or

diminished to the detriment of other creditors.”)

       For all of these reasons, the Court holds that under § 547(c)(1), Defendants must prove

the amount of the value of any “new value” provided to the Debtor, and have no § 547(c)(1)

defense beyond the amount of such value.

       (d)   Defendants’ argument that the value of their services is presumed to equal the
             amount of their payments under the Consulting Agreements

       In support of both of their new value defenses, under both § 547(c)(1) and § 547(c)(4),

Defendants argue that there is a presumption that the value of the services they provided under


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the Consulting Agreements is the amount the Debtor agreed to pay them for such services, in the

Consulting Agreements. Defendants further argue that the Trustee has not rebutted that

presumption.

       In their trial brief, Defendants cited several cases in support of this argument:

               [T]here is a presumption that the amount of new value is the
               amounts provided for in the Consulting Agreements. In In Re:
               Jones Truck Line, Inc., 130 F.3d 323, 328 (8th Cir. 1997), the
               Court made it clear that: “Absent contrary evidence, the value of
               employee services is presumed to equal the wages and benefits the
               employer contracted to pay.” Otherwise, as the Court stated: “It
               would not encourage employees to stick with a troubled business if
               their current wages and benefits could later be attacked as
               preferential on the ground that their labor was not worth what the
               employer agreed to pay.” Id. See also, In Re: Nomus-North
               Carolina, Inc., 2004 Bankr. Lexis 2708, 2004 WL 574510 (Bankr.
               M.D. N.C. 2004) (“Members of the Loftus Group continued to
               provide services to the Debtor until it was clear that the Debtor
               could not reach an agreement with the bank. These services
               constituted new value. Value of an employee[’s] services is
               presumed to equal wages and benefits that an employer contracted
               to pay.”); In Re: Molten Metal Technology, Inc., 262 B.R. 172, 176
               (Bankr. MA 2001) (“The Court agrees with both parties that the
               “value” advanced by Oppenheimer included Oppenheimer’s
               services and success at procuring investors, and that, absent any set
               off for the redemption claims, the services should be valued at the
               contract rate....”); and In Re: NETtel Corporation, Inc., 319 B.R.
               290, 295 (Bankr. D.C. 2004) (“Presumptively, the increase in value
               to the estate arising from a subsequent performance of services will
               be measured by the contract price of the services.”).23

       The Court concludes that in this case, there is no presumption that the payments the

Debtor agreed to make to Defendants under the Consulting Agreements equal the value of the

services Defendants provided under those agreements. Rather, Defendants bear the burden of

proving the value of their services without the aid of any presumption.


       23
          [Defs.’] Trial Br. (Docket # 76 in Adv. No. 13-5094; Docket # 72 in Adv. No. 13-5095) at 17-
18 (footnote omitted).

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       First, there is no Sixth Circuit authority supporting such a presumption.

       Second, there is no language in § 547 or anywhere else in the Bankruptcy Code that

supports such a presumption.

       Third, in the case of transfers to an insider of the bankruptcy debtor, at least, it does not

make sense to recognize such a presumption. Rather, it makes sense to hold, as this Court now

does, that the contract price agreed to by a debtor for the services of an insider is, at most, merely

one piece of relevant evidence of the value of the services. The contract price does not raise a

presumption of the value, but rather, at most, it is merely some evidence of the value of the

services, to be considered along with all other relevant evidence on the subject, and to be given

whatever weight the trier of fact finds appropriate under all the circumstances.

       Fourth, all of the cases Defendants cite in support of the alleged presumption are

distinguishable from the case of insiders like Defendants Ross and Karafa. The Court agrees

with the following arguments made by the Trustee, in distinguishing three of the four cases cited

by Defendants:

               (a) In re Jones Truck Lines, supra, involved a preference suit to
               recover contributions made to the Central States Pension Fund.
               The payment was made in exchange for continued services
               performed by approximately 2,300 unionized laborers. . . . Further,
               the sole authority on which the Jones Truck Lines Court relies for
               the statement is In re Pulaski Highway Exp., Inc., 57 B.R. 502, 510
               (Bankr. M.D. Tenn., 1986). However, Pulaski does not define
               such a general presumption, but rather states, without citation to
               authority, “In the absence of evidence to the contrary, I find that the
               reasonable value of the services rendered to [the] estate equals the
               amount specified in the collective bargaining agreement.” The
               facts of Jones Truck Lines and Pulaski are very different from the
               facts of the present adversary proceedings. Indeed, Pulaski wasn’t
               even a preference case but, rather, addressed whether a
               multiemployer pension plan’s withdrawal liability claim is entitled
               to administrative expense priority. More importantly, both of

                                                 41


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               these cases addressed unionized laborers (not insiders who had
               controlled the Debtor for nearly two decades), operating
               businesses (not a holding company with no substantial business
               operations) and complex, heavily negotiated contracts (unlike
               the Consulting Agreements which, Defendants acknowledge
               were not negotiated). See Affidavit of Michael J. Ross, Trial
               Exhibit 26, ¶ 14; Affidavit of Jeffrey Karafa, Trial Exhibit 27,
               ¶ 12 (“I did not participate in the drafting of the Consulting
               Agreement or negotiate the terms and provisions of the Consulting
               Agreement”).

               (b) In re Molten Metal Technology, Inc., supra, . . . does not
               discuss any presumption . . .. In that case, the court simply agreed
               with both parties that the services should be valued at the contract
               rate. Id. at 176 (“The Court agrees with both parties that the
               “value” advanced by Oppenheimer included Oppenheimer’s
               services and success in procuring investors for the Debtor, and that,
               absent any set off for the redemption claims, the services should be
               valued at the contract rate”). Moreover, Molten Metal involved
               payments to an independent service provider, Oppenheimer &
               Co., which had provided financial advisory services to the
               debtor. Finally, as in Jones Truck Lines, and unlike in the
               present case, Molten Metal involved an operating company, not
               a holding company with no assets. . . .

               (c) In re Nomus-North Carolina, Inc., supra, is not additional
               authority because it merely relies on Jones Truck Lines without
               analysis or explanation. Once again, Nomus has dramatically
               distinguishable facts. Unlike the present case, the preference
               defendant in Nomus was a non-insider crisis management firm that
               was retained to provide operational and financial consulting for a
               group of operating entities as a condition to forbearance by the
               debtor’s secured creditor. There, it was undisputed that members
               of the crisis management firm were on the premises every day.
               Unlike the present case, the engagement letter for the crisis
               management firm was negotiated and set forth specific projects
               that the firm would perform.24

       The fourth case relied on by Defendants, the NETtel case, likewise is distinguishable from

this case. In NETtel, the preference defendant was a not an insider. Rather, it was an outside

       24
         [Trustee’s] Mot. in Limine [etc.] (Docket # 72 in Adv. No. 13-5094; Docket # 68 in Adv. No.
13-5095) at 7-9 (emphasis added).

                                                 42


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company that had sold certain computer equipment to the debtor, and which had a contract to

provide the debtor with certain systems maintenance services and computer software licensing

services. The defendant alleged that it provided the debtor with new value after receiving the

debtor’s allegedly preferential transfer. The new value was in the form of continued services

under the contract, and the debtor’s continued use of the licensed software under the contract.

319 B.R. at 293, 296. The court cited the Jones Truck Lines and Molten Metal Technology cases

for the proposition that “[p]resumptively, the increase in value to the estate arising from a

subsequent performance of services will be measured by the contract price of the services.” Id. at

295 (footnote omitted). As with the other cases cited by Defendants, NETtel is quite different

from this case, in that: (1) NETtel did not involve a services contract between the debtor and its

long-time insiders; (2) NETtel did involve a debtor that was continuing to operate its business;

and (3) NETtel did not involve services to help wind down a debtor that no longer had any

business, and that was preparing to file a Chapter 7 bankruptcy case.

       Transactions between debtors and insiders are different than arms-length transactions, and

must be viewed with closer scrutiny. Schubert v. Lucent Techs. Inc. (In re Winstar Commc’ns

Inc.), 554 F.3d 382 (3d Cir. 2009) (quoting the legislative history of 11 U.S.C. § 101(31)

(defining “insider”) (S.Rep. No. 95-989, at 25 (1978) as reprinted in 1978 U.S.C.C.A.N. 5787,

5810) (“‘An insider is one who has a sufficiently close relationship with the debtor that his

conduct is made subject to closer scrutiny than those dealing at [arm’s] length with the

debtor.’”); Anstine v. Carl Zeiss Meditec AG (In re U.S. Med., Inc.), 531 F.3d 1272, 1279-80

(10th Cir. 2008) (citations omitted) (stating “that the insiders explicitly listed in 11 U.S.C.

§ 101(31) give rise to a ‘conclusive presumption’ that they have [“‘a sufficiently close



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relationship with the debtor that his conduct is made subject to closer scrutiny than those dealing

at arms [sic] length with the debtor’”]); Browning Interests v. Allison (In re Holloway), 955 F.2d

1008, 1010-11 (5th Cir. 1992) (citing 2 Collier on Bankruptcy ¶ 101.31 at 101-87 (15th ed. 1991)

and the legislative history of 11 U.S.C. § 101(31)) (stating that “‘[a]n “insider” generally is an

entity whose close relationship with the debtor subjects any transactions made between the

debtor and such entity to heavy scrutiny’” and that “an insider . . . [is] a person or entity with ‘a

sufficiently close relationship with the debtor that his conduct is made subject to closer scrutiny

than those dealing at arm’s length with the debtor’”); Miller v. Schuman (In re Schuman), 81

B.R. 583 (B.A.P. 9th Cir. 1987) (relying on the legislative history of 11 U.S.C. § 101(31) to hold

that transactions between debtors and insiders are to be more closely scrutinized than transactions

conducted at arms length); Editorial Flash, Inc. v. Olavarria (In re Editorial Flash, Inc.), No. 14-

00224 BKT, 2016 WL 3638471 (Bankr. D.P.R. June 29, 2016) (internal quotation marks and

citations omitted) (holding, and citing cases that held, that for purposes of 11 U.S.C.

§ 547(b)(4)(B), transactions between an insider and a transferee who is an insider, must be

carefully scrutinized because an insider “as a matter of fact, . . . exercises such control or

influence over the debtor as to render their transactions not arm’s length”).

       The Trustee cites Official Comm. of Unsecured Creditors of Enron Corp. v. Whalen (In

re Enron Corp.), 357 B.R. 32, 50 (Bankr. S.D.N.Y. 2006) in support of his position. In Enron,

the preference defendant was the executrix of the estate of a deceased former corporate insider,

and asserted a defense under § 547(c)(4), based on services the decedent provided to the debtor

under a consulting agreement, for which he was not fully paid. The defendant argued that the

monthly payments due under the consulting agreement established the amount of the value the



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decedent provided. The bankruptcy court denied summary judgment, however, finding that a

genuine issue of material fact existed regarding the value of the decedent’s services. While the

court agreed that in general, a presumption exists that the value of services equals the contract

price, it held that any such presumption was rebutted in that case. Enron distinguishes the case

of an insider contract from a debtor’s arms-length contract with an unrelated third party. As

such, Enron supports the Court’s holding in the present cases:

               [Defendant] argues that the contractual terms are sufficient to
               establish the amount of “new value” [Defendant’s decedent]
               provided to Enron. [Defendant] cites to a number of decisions
               holding that employees are presumed to have provided services
               equal to their wages for purposes of section 547(c)(4). See Jones
               Truck Lines, Inc. v. Central States, Southeast and Southwest Areas
               Pension Fund (In re Jones Truck Lines, Inc.), 130 F.3d 323, 328
               (8th Cir.1997) (“the value of employee services is presumed to
               equal the wages and benefit the employer contracted to pay”).
               [Defendant] contends that the Committee has not introduced
               evidence sufficient to overcome that presumption.

               The Court concludes that a genuine issue of material fact exists and
               that [Defendant] therefore is not entitled to summary judgment on
               this matter. While the Court agrees that contractually-agreed upon
               payments can generally be presumed to equal the value of the
               services (or goods) provided, sufficient facts here exist to rebut that
               presumption. As the Committee notes, [Defendant’s decedent]
               was a member of Enron's senior management just prior to
               signing the Consulting Agreement; this is not slander, as
               [Defendant] protests, but simply a recognition that the Consulting
               Agreement was signed on the same day that [Defendant’s
               decedent] resigned as Vice Chairman and Chief Strategic Officer.
               Moreover, the Court notes that [Defendant’s decedent’s] monthly
               fees under the Consulting Agreement were nearly six times his
               monthly wages under the Employment Agreement. In contrast,
               the employees in Jones Truck Lines were unionized laborers,
               subject to a collective bargaining agreement, while cases like
               Gonzales v. Nabisco (In re Furr's Supermarkets, Inc.), 317 B.R.
               423, 432 (10th Cir. BAP 2004), also cited by [Defendant], concern
               trade contracts for the sale of goods and commodities. In
               neither of the latter circumstances is there cause to discount

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               the results of arms’ length negotiation between parties with
               diverging interests. In light of the facts, the same simply
               cannot be said here. Though neither consideration is sufficient to
               establish that [Defendant’s decedent] provided less new value than
               [Defendant] asserts, both together, as well as other considerations
               flowing from the totality of the circumstances, are sufficient to
               overcome the presumption that the contractual payments equaled
               the new value provided.

357 B.R. at 50 (emphasis added).

       For these reasons, the Court rejects Defendants’ presumption argument, and holds that

there is no presumption that the value of Defendants’ services equals the price the Debtor agreed

to pay Defendants in the Consulting Agreements.

       In their trial brief, the Defendants make a further argument about the rebuttable

presumption discussed above. They argue that the value of their services under the Consulting

Agreements cannot be deemed to be less than the contract price the Debtor agreed to pay, unless

the Trustee successfully avoids the Debtor’s obligation to pay under the Consulting Agreement

as a fraudulent obligation. (And that is something the Trustee did not seek to do in these cases.)

Defendants argued this:

               In the NETtel case, the court queried as to whether the presumption
               can only be overcome if the contractual obligations were first set
               aside as fraudulent incurrences of obligations. See footnote 7 on
               page 295, wherein the court stated:

                      “For purposes of addressing the instant motion, the
                      court will assume in Harris’s favor that to the extent
                      that Harris can demonstrate the contract price of the
                      services, it measures the value. However, in some
                      cases an issue may exist whether the contract price
                      can be rejected under § 547(a)(2) as the “money’s
                      worth” of the services when the contract price is
                      excessive in the market, and whether, alternatively,
                      the excessive contract price can only be set aside
                      under 11 U.S.C. § 544 (which addresses avoiding


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                       the incurring of an obligation via the trustee’s
                       invocation of certain actual or hypothetical
                       creditors' rights under nonbankruptcy law) or 11
                       U.S.C. § 548(a)(1) (which addresses avoiding the
                       incurring of an obligation in exchange for less than
                       reasonably equivalent value).”

               Such query should be answered in the affirmative . . . . Again, the
               valuation issue is relevant to a fraudulent transfer but not to a
               preference. Litigating such issue in the context of a preference
               is simply an inappropriate end run around the fact that
               Trustee is not pursuing a fraudulent transfer action.25

       The Court rejects this argument, for the following reasons. First, the NETtel case does

not support Defendants’ argument, but rather merely raises it as a question, which the court did

not answer (and did not need to answer). Second, Defendants have cited no case that supports

their argument. Third, there is no provision in the Bankruptcy Code that supports Defendants’

argument.

       Fourth, the argument, as articulated by Defendants, is premised on there being a

presumption — that contract price equals value of contract services. But that premise is false in

a case like this one — this Court has held that no such presumption exists in an

insider–preference case like this one.

       Fifth, avoidance of a transfer as a preference under Bankruptcy Code § 547 is a ground

for avoidance that is separate from, and in addition to, avoidance of a transfer as a fraudulent

transfer (or avoidance of an obligation as a fraudulent obligation) under Bankruptcy Code §§ 548

or 544 (using state fraudulent transfer law).

       For all of the reasons stated above, Defendants bear the burden of proving the value of



       25
         [Defs.’] Trial Br. (Docket # 76 in Adv. No. 13-5094; Docket # 72 in Adv. No. 13-5095) at 18
n.9 (emphasis in original).

                                                 47


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their services, without the aid of any presumption, in order to succeed on their new-value

defenses under either §§ 547(c)(1) or 547(c)(4).

       (e) Defendants failed to prove their § 547(c)(1) defense with respect to any of the
           transfers at issue.

       As shown in detail in the tables in Part IV.A.1 of this Opinion, Defendants Ross and

Karafa each received 32 weekly payments from the Debtor during the time period April 1, 2012

through November 10, 2012. Each of these 64 payments was a separate transfer.

       The Court concludes that each of the Defendants failed to meet his burden of proving, by

a preponderance of the evidence, any of the necessary elements to establish a defense under

§ 547(c)(1) with respect to any of the transfers.

       1. Defendants did not prove the intent element of § 547(c)(1)(A).

       First, Defendants each failed to prove that any of the transfers were intended by both the

Debtor and the Defendant “to be a contemporaneous exchange for new value given to the

debtor,” as required by § 547(c)(1)(A). Each Defendant had to prove that both he and the Debtor

had such intent. See discussion in Part IV.A.4(a) of this Opinion. At trial, Defendants presented

no admissible evidence that the bankruptcy Debtor (Dearborn Bancorp., Inc.) had any such

intent. And the Court finds that neither the Debtor nor the Defendants had any such intent.

       Defendants argue that such intent is shown by the terms of the Consulting Agreement that

each of them signed with the Debtor. The Court disagrees, however, and finds that the

Consulting Agreements show just the opposite.

       The Ross Consulting Agreement was identical to the Karafa Consulting Agreement,

except for some particular details unique to each Defendant, such as the Defendant’s title, duties,

and the amount of payments to be made to the Defendant. The Ross Consulting Agreement (PX-


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3) stated that it was effective as of March 31, 2012; that the term of the agreement was one year,

commencing March 31, 2012; and that during the term of the agreement Ross would serve as the

“President and Chief Executive Officer” of the Debtor. The Ross Consulting Agreement stated

the following with respect to Ross’s duties:

                  Consultant will be expected to perform such duties and
                  responsibilities as are commensurate with the position of President
                  and Chief Executive Officer and as are necessary and appropriate
                  for the management and winding up of the business and affairs of
                  the [Debtor].26

       The agreement further stated that Ross’s relationship with the Debtor “is that of an

independent contractor and not an employee.” In a section called “Time Devoted,” the

agreement stated:

                  Consultant shall be expected to devote such time to [the Debtor] as
                  necessary to perform his duties and responsibilities hereunder.
                  Nothing stated herein shall require him to work full time for [the
                  Debtor] or shall preclude him from engaging in any other business
                  ventures provided they do not interfere with his responsibilities
                  hereunder.27

       The agreement contained an integration clause that stated:

                  This Agreement contains the entire understanding between the
                  parties hereto with respect to the subject matter hereof and
                  supercedes any prior understandings, agreements, or
                  representations, written or oral, relating to the subject matter
                  hereof.28

       The Ross Consulting Agreement stated that “[t]hroughout the Term of this Agreement,”

the Debtor would pay compensation as follows:


       26
            PX-3 at 1, § 1.02.
       27
            Id. at 2, § 2.02.
       28
            Id. at 3, § 8.

                                                   49


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                  Salary:
                  $6,867.00 paid weekly in advance

                  Allowance for health care benefits:
                  $1,000.00 paid monthly on the first of each month

                  Reimbursement of Expenses:
                  $75.00 paid monthly on the first of each month29

       The terms of the Karafa Consulting Agreement (PX-4) were identical to the Ross

Consulting Agreement in all respects described above, except Karafa’s agreement defined his

position as the “Chief Financial Officer and Treasurer of [the Debtor],” and described Karafa’s

duties as follows:

                  Consultant will be expected to perform such duties and
                  responsibilities as are commensurate with the position of Chief
                  Financial Officer and Treasurer and as are necessary and
                  appropriate for the management and winding up of the business
                  and affairs of the [Debtor].30

       And Karafa’s compensation was less than Ross’s. The Karafa Consulting Agreement

stated that “[t]hroughout the Term of this Agreement,” the Debtor would pay Karafa

compensation as follows:

                  Salary:
                  $3,846.00 paid weekly in advance

                  Allowance for health care benefits:
                  $1,000.00 paid monthly on the first of each month

                  Reimbursement of Expenses:
                  $50.00 paid monthly on the first of each month31



       29
            Id. at 2, § 3, Ex. 1.
       30
            PX-4 at 1, §§ 1.01, 1.02.
       31
            Id. at 2, § 3, Ex. 1.

                                                     50


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       Thus, the Consulting Agreements required each of the Defendants to be paid a regular

weekly salary and regular benefits in the same specific amounts for each week and for each

month, respectively, through payments made in advance, at regular weekly intervals. In

exchange for those payments by the Debtor, however, the Consulting Agreements did not require

either Defendant to perform any particular services at any particular time, let alone at any regular

weekly or monthly intervals. In fact, with respect to any given week’s payment by the Debtor,

the Consulting Agreements permitted the Defendants to perform no services at all during that

week. The Consulting Agreements did not require the Defendants to work full time for the

Debtor, and expressly allowed the Defendants to engage in other business ventures. The

Consulting Agreements stated, vaguely, that each Defendant was an independent contractor, and

only required each Defendant “to devote such time [to the Debtor] as necessary to perform his

duties and responsibilities hereunder,” which duties themselves were stated only vaguely.

       It is clear from all of this that neither the Debtor nor the Defendants had any contractual

intent under the Consulting Agreements that any of the weekly transfers by the Debtor be a

contemporaneous exchange for any services to be given by the Defendants. To further illustrate

the point, which applies to every transfer, consider the Debtor’s check dated April 23, 2012 to

Defendant Ross, in the amount of $6,867.00, listed in the table in Part IV.A.1 of this Opinion.

According to Ross’s invoice that was paid by that check, also dated April 23, 2012, that check

was a salary payment for the week of April 22-28, 2012. Nothing in Ross’s Consulting

Agreement required Ross to perform any particular services for the Debtor during that week, or

to perform any services at all during that week.

       Thus, the unambiguous terms of the Consulting Agreements show a lack of any intent, by



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the Debtor or by either of the Defendants, that any of the weekly transfers to Defendants be given

in exchange for services provided at or near the same time as the transfer. Instead of services

being given on a weekly basis contemporaneously with the Debtor’s weekly transfers to

Defendants, the Consulting Agreements provided only that Defendants give their services as and

when such services were “necessary or appropriate for the management and winding up of

business and affairs of [the Debtor].”

       Defendants make much of the fact that the Consulting Agreements required Defendants’

salaries to be paid “weekly in advance,” and that their health care benefit allowance and expense

reimbursements be “paid monthly on the first of each month.” But this shows nothing at all —

that is, it shows nothing about any intent that the Defendants’ services be timed to coincide with

the regular weekly or monthly payments from the Debtor. The only thing it shows is an intention

about the timing of the Debtor’s payments in relation to the calendar.

       Thus, for example, the Debtor’s first weekly salary payment to Defendants, for the first

week after the March 31, 2012 effective date of the Consulting Agreements, was for the week of

April 1-7, 2012, and was to be paid in advance of that week. And this is what was done —

Karafa and Ross each received a check dated April 1, 2012 for the time period April 1-7 with

respect to salary, and for the month of April 2012 with respect to the health care and expense

reimbursement portions of their compensation. Yet the Consulting Agreements did not require

either Defendant to perform any actual services for the Debtor during the week of April 1-7,

2012. And, in fact, the actual practice of the parties under the Consulting Agreements was that

the amount and timing of each Defendant’s services varied considerably during the weeks

between April 1, 2012 and November 10, 2012, when the Debtor was making its regular weekly



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and monthly payments.32

        For these reasons, the Court finds that Defendants have failed to meet their burden of

proving the first necessary element of their affirmative defense under § 547(c)(1) — that any of

the transfers were “intended by the Debtor and the [Defendants] to be a contemporaneous

exchange for new value [in the form of services] given [by Defendants] to the [D]ebtor.”

        2. Defendants did not prove the “in fact . . . substantially contemporaneous”
           element of § 547(c)(1)(B).

        Defendants also failed to meet their burden of proving, by a preponderance of the

evidence, with respect to any of the transfers, that the Debtor’s transfer was “in fact a

substantially contemporaneous exchange” for new value given to the Debtor in the form of

services.

        With respect to each of the 32 transfers to each Defendant, Defendants each failed to

prove what services he performed during the week that the transfer related to, or at any other time

temporarily proximate to the date of the transfer. Nor did Defendants prove the amount of the

value, if any, of any such temporarily proximate services. Neither Defendant kept any time

records for his work done under his Consulting Agreement,33 and neither Defendant’s invoices

identified any services.34 At trial, each Defendant testified that he could not identify what

services he performed during any given week under the Consulting Agreements.35


        32
          Each of the Defendants testified to this effect. (See Tr. (Docket # 104) at 251-52 (Ross); Tr.
(Docket # 105) at 47-48 (Ross) (some weeks were “very busy” and some weeks were “very slow”); 190-
91 (Karafa)).
        33
             Tr. (Docket # 104) at 251 (Ross); Tr. (Docket # 105) at 195 (Karafa).
        34
             Copies of the invoices are in PX-2, DX-I-1, and DX-I-2.
        35
             See Tr. (Docket # 105) at 31-32 (Ross), 203 (Karafa).

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        Moreover, even if Defendants had proven that they performed specific services during

any particular weeks when they were receiving the 32 weekly transfers from the Debtor,

Defendants failed to meet their burden of proving that any such services provided any “value,” in

any amount, let alone any particular proven amount to the Debtor. (This point is further

discussed in the next section of this Opinion, in connection with Defendants’ § 547(c)(4)

defense.)

        For these reasons, the Court concludes that the Defendants failed to meet their burden of

proving any of the necessary elements of their § 547(c)(1) defense, to any extent, as to any of the

transfers at issue.

        5. Defendants’ § 547(c)(4) defense (subsequent new value)

        (a) Elements of the defense

        Defendants contend that a significant portion of the transfers are shielded from avoidance

by § 547(c)(4), which states:

                (c) The trustee may not avoid under this section a transfer—
                ...

                    (4) to or for the benefit of a creditor, to the extent that, after
                such transfer, such creditor gave new value to or for the benefit of
                the debtor—

                        (A) not secured by an otherwise unavoidable security
                interest; and

                        (B) on account of which new value the debtor did not make
                an otherwise unavoidable transfer to or for the benefit of such
                creditor[.]

11 U.S.C. § 547(c)(4).

        For purposes of discussing Defendants’ § 547(c)(4) defense, the Defendants’ provision of



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services to the Debtor can be broken into three time periods. First, Defendants claim that they

provided services to the Debtor under their Consulting Agreements each week during the 32-

week time period for which the Debtor made weekly payments to them (April 1, 2012 through

November 10, 2012, the “Payment Period”). Second, Defendants also claim that they continued

to provide services to the Debtor during the 17 weeks after that time period, when the Debtor no

longer was paying them, until the Debtor filed its bankruptcy petition on March 11, 2013 (the

“Non-Payment Period”). Third, Defendants also claim that they continued to provide services to

the Debtor/bankruptcy estate after the bankruptcy petition was filed (the “Post-Petition Period”).

        Plaintiff argues, and Defendants do not dispute,36 that any new value from services that

Defendants provided during the Post-Petition Period does not count as new value under

Defendants’ § 547(c)(4) defense. That is correct, and many cases so hold. See, e.g., Friedman’s

Liquidating Trust v. Roth Staffing Cos. LP (In re Friedman’s Inc.), 738 F.3d 547, 557 (3d Cir.

2013) (agreeing with the “vast majority of courts that have considered this issue” that “new value

advanced after the petition date should not be considered in a creditor’s [§ 547(c)(4)] new value

defense”) (citations omitted); Phoenix Rest. Grp., Inc. v. Proficient Food Co. (In re Phoenix

Rest. Grp., Inc.), Nos. 301-12036, 303-0568A, 2004 WL 3113719 at *1, 9-10 (Bankr. M.D.

Tenn. December 16, 2004), aff’d 373 B.R. 541 (M.D. Tenn. 2007) (citations omitted) (italics in

original) (same) (reasoning, in part, that § 547(c)(4) requires that the new value be given “to or

for the benefit of the debtor;” and post-petition advances of goods or services “are given to the


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           In their post-trial brief, for example, Defendants argue their § 547(c)(4) defense based only on
the new value their pre-petition services provided. (See Post Trial Br. of Defs., etc. (Docket
# 96 in Adv. No. 13-5094, Docket # 90 in Adv. No. 13-5095) at 16) (footnote omitted) (arguing that
“Defendants should be found to have valid defenses under §547(c)(4), since Defendants provided Debtor
with new value, i.e., weekly services for 17 weeks prepetition, after Debtor ceased paying them for
services on November 2, 2012.”).

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debtor’s estate, not to the debtor”); TennOhio Trans. Co. v. Felco Commercial Servs. (In re

TennOhio Transp. Co.), 255 B.R. 307, 310 (Bankr. S.D. Ohio 2000) (same); NETtel Corp., 319

B.R. at 300 n.20 (citation omitted) (“[Section] 547(c)(4) is limited to new value imparted prior to

the petition because the estate and the debtor are distinct entities.”).

        The relevant time periods, therefore, are the Payment Period and the Non-Payment

Period. That is, the relevant time period begins immediately after the date of the Debtor’s first

transfers to each of the Defendants (April 1, 2012) and ends with the bankruptcy petition date

(March 11, 2013). The 32 weeks of the Payment Period are relevant, even though the Debtor

was making weekly payments to Defendants all through that period, because none of those

transfers are “otherwise unavoidable” within the meaning of § 547(c)(4)(B). That is so because

all of those transfers are avoidable, except to the extent § 547(c)(4) shields them. Because the

Court has rejected Defendants’ defenses under §§ 547(c)(1) and 547(c)(2), Defendants have no

other defenses to avoidance left for any of the transfers, except § 547(c)(4). So for any given

transfer to one of the Defendants, none of the transfers made to that Defendant thereafter can be

deemed an “otherwise unavoidable transfer” that paid for any subsequent new value. See, e.g,

Jones Truck Lines, Inc., 130 F.3d at 329 (Under § 547(c)(4), “subsequent new value cannot be

offset or nullified by payments that are themselves avoidable preferences.”); Phoenix Rest. Grp.,

Inc. v. Proficient Food Co., 2004 WL 3113719, at * 8 (Under § 547(c)(4), “[a] payment by the

debtor to the creditor after the creditor gave new value does not unravel the defense if the

payment can itself be recovered as an avoidable transfer.”).

        (b) Defendants failed to prove their § 547(c)(4) defense to any extent, with respect to
            any of the transfers at issue.

        During and for the 32 weeks of the Payment Period (April 1, 2012 to November 10,


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2012), the Debtor paid Defendants a total of $358,766 for their services under the Consulting

Agreements ($228,344.00 to Ross and $130,422.00 to Karafa). At some times during that same

32-week period, and then during the 17 weeks of the Non-Payment period, Defendants each

performed some services under their Consulting Agreement. The question is: how much, if

anything, in “new value” — i.e., in “money’s worth,” meaning economic value — did each

Defendant’s pre-petition services give to the Debtor?

        Defendants each had the burden of proving the answer to this question, by a

preponderance of the evidence, in order to succeed on their § 547(c)(4) defense. Not only that,

but also each Defendant had the burden of proving the timing element of their defense.37 In this

case, the Debtor made a total of 64 transfers (32 transfers to each Defendant). To have a defense

to the avoidance of any given transfer to a Defendant, that Defendant had to prove that he

performed services for the Debtor after the date of that transfer (and before the bankruptcy

petition date), which provided “new value” to the Debtor, and the amount of the value of such

new value. If the Defendant proved all these things, he would have a defense to avoidance of the

transfer at issue, to the extent of the amount of the value of such new value.



        37
           One point of law about timing concerns the precise dates on which the Debtor is deemed to
have made the transfers at issue to Defendants. As noted in Part IV.A.1 of this Opinion, under the
Supreme Court’s decision in Barnhill v. Johnson, when a debtor makes a transfer by check, the transfer is
deemed to have been made, for purposes of § 547(b), when the debtor’s bank honored the check, rather
than when the check was delivered to the transferee. But for purposes of the § 547(c)(4) subsequent new
value defense, a transfer done by check is deemed to have been made when the check was delivered to
the transferee. See Brown v. Shell Canada, Ltd. (In re Tenn. Chem. Co.), 112 F.3d 234, 238 (6th Cir.
1997).

         This timing difference does not matter in this case. It does not matter whether the Debtor’s
transfers to Defendants are deemed to have been made when the checks were delivered to Defendants, or
when the checks were honored. In either event, the Court’s findings about Defendants’ failure to meet
their burden of proof under § 547(c)(1) and under § 547(c)(4) are the same as those expressed in this
Opinion.

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        As the Court has discussed earlier in this Opinion, to show that any of their services

provided “new value” to the Debtor, Defendants had to prove that the services gave “a direct or

indirect economic benefit to the [D]ebtor viewed from the perspective of the [D]ebtor’s

creditors.” This means that the services “did any of the following: [(1)] brought in money to the

[D]ebtor or the [D]ebtor’s bankruptcy estate; . . . [(2)] saved the [D]ebtor or the bankruptcy

estate expense; or [(3)] reduced or eliminated or avoided liability for, or [reduced] liability for

the [D]ebtor []or the bankruptcy estate.”38

        And Defendants had to prove the amount of the value of such “new value” their services

gave to the Debtor, with specificity. In this regard, the Court finds applicable the holdings of

several of the court of appeals cases quoted earlier in this Opinion, in the context of discussing

§ 547(c)(1).39 As those cases state, Defendants had the burden of proving “the specific measure”

of the new value they gave to the Debtor (per the Jet Florida, Southmark Corp., and Campbell

cases); or, in other words, the “specific valuation” of the new value (per the Electronic Metal

Products case); or, in other words, to prove the amount of such new value “with specificity” (per

the Arrow Air, Inc. and Campbell cases).

        The Court finds that Defendants did not meet their burden of proof, to any extent, with

respect to any of the 64 transfers that Defendants received. This is especially so under the

specificity requirement just described, but is is so even without applying the specificity

requirement.

        In rejecting Defendants’ presumption argument, in Part IV.A.4(d) of this Opinion, this


        38
             See Part IV.A.4(b) of this Opinion (quoting from the Court’s summary judgment bench
opinion).
        39
             See Part IV.A.4(c) of this Opinion.

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Court held that the contract price that the Debtor agreed to pay Defendants for their services

under the Consulting Agreements may be relevant evidence of the value of Defendants’ services.

As the Court held, earlier in this Opinion:

             [T]he contract price agreed to by a debtor for the services of an insider is,
             at most, merely one piece of relevant evidence of the value of the services.
             The contract price does not raise a presumption of the value, but rather, at
             most, it is merely some evidence of the value of the services, to be
             considered along with all other relevant evidence on the subject, and to be
             given whatever weight the trier of fact finds appropriate under all the
             circumstances.40

       In this case, the Court gives no weight to the contract price in the Consulting Agreements.

There was no evidence that the Debtor agreed to pay Defendants the salary and benefit amounts

that it did because of any view that the amounts represented the fair market value of the services

to be provided. Rather, the salary amounts in the Consulting Agreements were simply identical

to the salary amounts that Defendants had been receiving before the FDIC took over the Debtor’s

bank. Those salaries were paid to Defendants at a time when the Defendants were running an

operating bank with $750-800 million in deposits, 15 branches, about 220 employees, and over

18,000 customers.41 As soon as the FDIC took over the bank, the employees were terminated

and the bank had no business to operate.42 Defendants’ services during the time they running an

operating bank were quite different in nature from Defendants’ wind-down services under the

Consulting Agreements, which were performed for a Debtor that no longer had any business or

employees, and that was about to file for Chapter 7 bankruptcy liquidation. There was no



       40
            Part IV.A.4(d) of this Opinion (emphasis in original).
       41
            See Tr. (Docket # 104) at 194, 241-43 (Ross).
       42
            See id. at 243 (Ross); Tr. (Docket # 105) at 194-95 (Ross).

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evidence presented at trial that in fact, or even just in the view of the Debtor, the fair market

value of Defendants’ wind-down services was at all comparable to the fair market value of

Defendants’ services when they were running the Debtor’s bank as an operating business.

       Nor did Defendants present any other evidence of the actual value to the Debtor that their

services provided under the Consulting Agreements. Defendants testified at trial to their own

views that their services provided actual value to the Debtor, but the Court finds that testimony

unpersuasive, and the Court also finds that Defendants’ testimony did not prove the amount of

the economic value that their services gave to the Debtor.

       In their post-trial brief, Defendants argued in detail what they contend the evidence at trial

showed, about (1) the services they provided under the Consulting Agreements; and (2) the value

of those services to the Debtor.

       As to the what services the Defendants provided, Defendants argued as follows:

               Ross testified that he performed the following services for Debtor
               pursuant to his Consulting Agreement: communications with
               regulatory people, shareholders and directors, management of
               Debtors’ legal team relating to FDIC issues and IRS tax issues,
               directed and communicated with professionals, met with Karafa
               and communicated with Karafa, spoke to the Chairman of the
               Board multiple times per week, and provided written
               correspondence no less than quarterly to the Board. Ross also
               testified that there were discussions with the Board not reduced to
               writing. Ross testified that the time Defendants expended working
               for Debtor pursuant to the Consulting Agreements fluctuated, and
               that Defendants performed services every week. Some weeks they
               were very busy, some weeks they were slow, and there were no
               weeks that Defendants did nothing for Debtor. Ross testified that
               he considered himself on call and available to Debtor “24/7.” Ross
               also participated in discussions and reviews of pleadings relating to
               Debtor’s bankruptcy filing.

               Ross also testified that he was very involved in resolving the
               problem of the FDIC freezing $7 million in 401K funds which


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           belonged to former employees of the Bank. Ross testified that he
           had numerous communications with former Bank employees
           because they had no access to their 401K funds and that this
           situation continued for in excess of 6 months, until Ross found an
           FDIC representative in Dallas, Texas, and “convinced them to do
           their job.”
           ....

           Karafa testified that . . . he performed the following services to
           wind down Debtor’s business: (1) winding down of [a] regulatory
           relationship with Federal Reserve Bank; (2) winding down of
           relationship with Securities Exchange Commission; (3) winding
           down of relationship with Computershare, Debtor’s transfer agent;
           (4) ensuring that IRS and State of Michigan tax returns for 2011
           and 2012 were prepared and finalized; (5) shutting down of
           Debtor’s website; and (6) canceling insurance policies. Karafa also
           scanned, stored and maintained Debtor's books and records.

           Karafa testified that he handled Debtor’s checkbook, and reviewed
           and paid all invoices directed to Debtor, including Dickinson,
           Howard & Howard, Computershare, and S & L (Debtor’s website).
           After the closing of the Bank, Karafa participated in discussions
           with Debtor’s legal counsel relating to taking action against the
           State of Michigan and the FDIC relating to the wrongful takeover
           of the Bank. Karafa testified that . . . both Karafa and Ross
           engaged in conversations, emails and conferences with counsel.
           ...

           Karafa testified that he assisted Debtor’s accountants, BKD,
           relating to contesting the State of Michigan’s business tax
           assessments. Karafa received all of the tax notices from the State
           of Michigan, communicated with Doug Born of BKD relating to
           the assessments and directed the actions of the accountants.
           [Footnote 19: Karafa testified that dealing with the State of
           Michigan tax issues was part of the services he rendered for Debtor
           pursuant to the Consulting Agreement, and that he generally
           received tax notices from the State on a monthly basis. . . .] Karafa
           also testified that he was Debtor’s primary contact relating to IRS
           issues, and that he coordinated and attended meetings with the IRS,
           Ross and Dickinson.
           ....

           Karafa testified that as part of his duties to Debtor he discussed
           with counsel at Howard & Howard whether there was insurance


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           coverage for Debtor under Debtor's D&O policy. Karafa also
           testified that he shut down Debtor’s relationship with
           Computershare, its transfer agent, which eliminated a monthly
           liability. Karafa also performed services relating to recovery of
           insurance premium refunds, and personally handled turnover to the
           FDIC of insurance premiums refunds which belonged to the Bank.

           Karafa testified that he met with Ross in person or by phone
           weekly to discuss the business of Debtor. During these
           conferences Ross and Karafa discussed what both of them had
           done during the last week, what had been resolved, what still
           needed to be done, invoices from outside vendors, and Debtor’s
           general finances. In addition, Ross and Karafa generally spoke
           every other business day. Karafa was also principally in charge of
           assisting Dickinson with the preparation of Debtor’s bankruptcy
           filings. Karafa testified that although the Consulting Agreement
           did not require him to expend any set amount of time for Debtor,
           on average he spent 10-15 hours per week working on Debtor’s
           matters, some weeks more, and that there were no weeks where he
           didn't perform services for Debtor. . . .
           ....

           Ross testified that after Debtor ceased paying him for his services
           under the Consulting Agreement in November, 2012, he provided
           services to Debtor and expended substantial time relating to the
           IRS tax appeal. Ross testified that pre-petition the IRS was
           asserting a claim against Debtor for in excess of $10 million. Ross
           testified that he also assisted with the preparation of Debtor’s
           bankruptcy filing (and that he and Karafa provided information to
           Trustee which assisted him in recovering retainers paid to
           professionals pre-petition).
           ....

           Karafa testified that he met with Ross and counsel at Dickinson to
           review the information required to prepare the bankrutpcy
           pleadings, and that he had the majority of the information needed
           to prepare the bankruptcy pleadings. Karafa testified that he
           worked on gathering the information for the bankruptcy filing.
           Karafa also testified that Debtor did not immediately file for
           bankruptcy in November, 2012, because Dickinson advised that it
           would be best to wait for a final ruling on the IRS issues before
           moving forward with bankruptcy. Karafa further testified that
           preparation of the bankruptcy schedules and pleadings was a work
           in process, not done all at one time, and that he received emails


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                 from Dickinson requesting additional information.43

        As to the actual value of these services to the Debtor, Defendants argued as follows in

their post-trial brief:

                 Ross testified that . . . Defendants’ services under the Consulting
                 Agreements resulted in the following tangible benefits to Debtor:
                 (1) recovery of insurance premium refunds in the gross amount of
                 $52,811.55, with a net recovery for Debtor of $22,619.17; (2) no
                 claims were filed in Debtor’s bankruptcy case by either the FDIC
                 or the IRS; and (3) [the] State of Michigan withdrew the claims it
                 had filed in Debtor’s bankruptcy case based upon Defendants’ pre-
                 petition efforts. [Footnote 16: The State of Michigan was listed
                 with an unliquidated, disputed claim of over $405,000 in Debtor’s
                 Schedule F. See Trustee’s Exhibit 14. The State of Michigan filed
                 Claim 10-1 on 6/25/13 in the amount of $434.735.13; Claim 10-2
                 on 10/4/13 in the amended amount of $582,245.73; Claim 10-3 on
                 6/16/14 in the amended amount of $212,768.45; Claim 10-4 on
                 12/17/14 in the amended amount of $21,338.32; and then on
                 12/19/14 filed a document (Docket No. 94) withdrawing all of its
                 claims.]
                 ...

                 Karafa testified that he provided value to Debtor through his
                 services, including obtaining the insurance premium refunds,
                 ending of service agreements and Debtor's website, elimination of
                 the Michigan business tax claim, and providing information that
                 resulted in the IRS not filing a claim in Debtor’s bankruptcy case.

                 Defendants also established that the services rendered by
                 Defendants were needed by Debtor as, upon advice of counsel,
                 Dickinson, Debtor needed to wrap up certain business matters,
                 including outstanding tax issues, before filing for bankruptcy.
                 Further, the services rendered by Defendants could not have been
                 performed by just anyone. Both Ross and Karafa had significant
                 banking experience and thorough familiarity with Debtor’s
                 business, making them uniquely qualified to do the work.

                 [T]he services provided new value to Debtor, including, but not
                 limited to, the orderly wind down of Debtor’s business, recovery of


        43
           Post Trial Br. of Defs. (Docket # 96 in Adv. No. 13-5094, Docket # 90 in Adv. No. 13-5095)
at 6-10, 15 (footnotes omitted) (record citations omitted).

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                  insurance premiums, reduction of operating expenses, and the
                  reduction of claimed tax liabilities. Defendants’ efforts resulted in
                  the recovery of funds, resulted in no claim being filed by the IRS,
                  and resulted in claims being withdrawn in the bankruptcy
                  proceeding by the State of Michigan.44

        The Court finds that Defendants failed to meet their burden of proving, by a

preponderance of the evidence, either of the following: (1) that Defendants’ services provided

any economic value to the Debtor or the bankruptcy estate; and (2) in any event, the amount of

any of the alleged economic value to the Debtor or the bankruptcy estate.

        Furthermore, the Court agrees with Plaintiff’s argument that Defendants failed to prove a

causal link between any of their pre-petition services and the specific forms of economic benefit

that Defendants allege. In this regard, the Court finds that Defendants failed to prove, by a

preponderance of the evidence, that any of their pre-petition services actually caused, or

contributed in a material way to causing, any of the following: (1) the Debtor’s recovery of the

insurance premium refunds ($30,192.38 of which went to the FDIC rather than the Debtor;

$22,619.17 of which went to the Debtor); (2) the fact that neither the FDIC nor the IRS filed

claims in the Debtor’s bankruptcy case; or (3) the fact that the State of Michigan ultimately

withdrew the claim it filed in the Debtor’s bankruptcy case. Rather, the evidence showed that all

of these things were caused by the efforts of persons other than the Defendants, including the

FDIC and the Chapter 7 bankruptcy Trustee. The Court finds persuasive, and agrees with, the

Plaintiff’s detailed arguments to this effect, and the evidence cited by Plaintiff in support of those

arguments.45


       44
             Id. at 7-8, 11-12 (footnotes omitted) (record citations omitted).
        45
           See Post Trial Br. of Plaintiff (Docket # 97 in Adv. No. 13-5094, Docket # 91 in Adv. No. 13-
5095) at 11-18 and record citations therein.

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        The Court further finds that, contrary to Defendants’ argument, Defendants did not prove

with any persuasive evidence that, as Defendants allege in their post-trial brief quoted above,

“the services rendered by Defendants were needed by Debtor as upon advice of counsel,

Dickinson, Debtor needed to wrap up certain business matters, including outstanding tax issues,

before filing for bankruptcy.” There was no evidence presented at trial explaining or showing

why the Debtor “needed to wrap up certain business matters, including outstanding tax issues,

before filing for bankruptcy.” And the accuracy of this assertion by Defendants is not apparent to

the Court from the evidence presented at trial.

        For all of these reasons, the Court concludes that the Defendants failed to meet their

burden of proving any of the necessary elements of their § 547(c)(4) defense, to any extent, as to

any of the transfers at issue.

        All of the transfers at issue are avoidable as preferential transfers under 11 U.S.C. § 547,

and the Court will enter a judgment in each adversary proceeding, avoiding the transfers.

B. Count V — recovery of avoided transfers under 11 U.S.C. § 550(a)(1)

        1. Judgment for the amount of the avoided transfers

        11 U.S.C. § 550(a)(1) states, in pertinent part, and with exceptions not applicable here,

that “to the extent that a transfer is avoided under section . . . 547 . . . of this title, the trustee may

recover, for the benefit of the estate, the property transferred, or, if the court so orders, the value

of such property, from — (1) the initial transferee of such transfer or the entity for whose benefit

such transfer was made[.]”

        It is undisputed that Ross is “the initial transferee” of the $228,344.00 in transfers made

by the Debtor to him, and that Karafa is “the initial transferee” of the $130,422.00 in transfers



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made by the Debtor to him. Under § 550(a)(1), then, Plaintiff is entitled to recover the amount of

these avoided transfers made to Ross and Karafa. As requested by Plaintiff, therefore, the Court

will enter judgment against Ross in the amount of $228,344.00, and will enter judgment against

Karafa in the amount of $130,422.00.

        2. Prejudgment interest

        In addition, the Plaintiff requests that the Court award prejudgment interest against Ross

and Karafa.46 Plaintiff has not specified what interest rate he requests, or a requested date from

which the interest should run. And the parties have not briefed the issue of prejudgment interest.

        In a prior case, this Court discussed the awarding of prejudgment interest in bankruptcy

avoidance actions. Global Technovations, Inc. v. Onkyo U.S.A. Corp. (In re Global

Technovations, Inc.), 431 B.R. 739, 774-76 (Bankr. E.D. Mich. 2010), aff’d., No. 10-12781,

2011 WL 1297356 (E.D. Mich. Mar. 31, 2011), aff’d. sub nom., Onkyo Europe Elecs. GMBH v.

Global Technovations, Inc., (In re Gloval Technovations, Inc.), 694 F.3d 705 (6th Cir. 2012).

That case was a successful action by the liquidating agent in a Chapter 11 case to avoid a

fraudulent transfer by the debtor, based on 11 U.S.C. § 544 and Florida’s fraudulent transfer law.

In that case, this Court awarded prejudgment interest in favor of the Plaintiff. It is true that the

Global Technovations case was a fraudulent transfer avoidance action, and this case is an action

to avoid preferential transfers. But the Court’s discussion of prejudgment interest in Global

Technovations applies equally to this case, and the Court adopts it for this case.47 In Global


       46
            See Final Pretrial Order (Docket # 71 in Adv. No. 13-5094; Docket # 67 in Adv. No. 13-5095)
at 15-16, ¶ 11; Compl. (Docket # 1 in Adv. No. 13-5094) at 8; First Amended Compl. (Docket # 6 in
Adv. No. 13-5095) at 8.
       47
          The Court views its discussion and holdings about prejudgment interest in Global
Technovations to be fully consistent with more recent cases decided after Global Technovations. E.g.,

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Technovations, the Court stated:

                It is well-settled that, unless prohibited by a statute, bankruptcy courts,
            as units of the district court under 28 U.S.C. § 151, have broad discretion
            in determining whether to award prejudgment interest based on the
            particular equities of a case. See, e.g., Ford v. Uniroyal Pension Plan, 154
            F.3d 613, 616, 619 (6th Cir. 1998); Bricklayers’ Pension Trust Fund v.
            Taiariol, 671 F.2d 988, 989-90 (6th Cir.1982); Smith v. Am. Int’l. Life
            Assur. Co. of New York, 50 F.3d 956, 958 (11th Cir. 1995).

                Although 28 U.S.C. § 1961(a) applies only to post-judgment interest,
            this statute does not prohibit an award of pre-judgment interest, and some
            federal courts have applied 28 U.S.C. § 1961(a) to determine the
            prejudgment interest rate, particularly where the Bankruptcy Code or other
            federal statutes supply the substantive right. See, e.g., Sweet v. Consol.
            Aluminum Corp., 913 F.2d 268, 270-71 (6th Cir. 1990)(affirming the
            district court award of prejudgment interest under 28 U.S.C. § 1961(a) on
            a claim for pension benefits); Lewis v. Harlin (In re Harlin), 325 B.R. 184,
            193 (Bankr. E.D. Mich. 2005)(stating that “[s]ome bankruptcy courts have
            exercised their equitable discretion to award prejudgment interest and set
            the prejudgment interest rate based on 28 U.S.C.A. § 1961(a),” and citing
            such cases); Floyd v. Dunson, D/B/A MMD (In re Ramirez Rodriguez),
            209 B.R. 424, 434 (Bankr. S.D. Tex. 1997)(holding that the trustee, who
            had successfully recovered preferential and fraudulent transfers, was
            “entitled to recover . . . prejudgment interest at the statutory rate set forth
            in 28 U.S.C. § 1961(a),” and citing other cases awarding prejudgment
            interest at the statutory rate set forth in 28 U.S.C. § 1961(a)); Wilson v.
            First Nat’l Bank, Lubbock, Texas (In re Missionary Baptist Found. of Am.,
            Inc.), 69 B.R. 536, 538-39 (Bankr. N.D. Tex. 1987)(finding it logical for
            the bankruptcy court to apply the rate of interest in 28 U.S.C. § 1961 to
            both prejudgment and postjudgment interest where the Bankruptcy Code
            created the substantive right); Waldschmidt, v. Ranier (In re Fulghum
            Constr. Corp.), 78 B.R. 146, 153 (M.D. Tenn. 1987), rev’d on other
            grounds, 872 F.2d 739 (6th Cir. 1989)(finding that the bankruptcy court
            did not abuse its discretion in applying the rate of interest in 28 U.S.C.
            § 1961 to a preference action by the bankruptcy trustee).

                In determining whether prejudgment interest is appropriate, bankruptcy
            courts should inquire whether such an award would serve to compensate
            the prevailing party and is equitable under the circumstances. See Frymire


Meoli v. The Huntington Nat’l Bank, 848 F.3d 716, 735-36 (6th Cir. 2017) (fraudulent transfer action;
affirming bankruptcy court’s award of prejudgment interest at the rate specified in 28 U.S.C. § 1961,
finding that “it was not an abuse of discretion”).

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          v. Ampex Corp., 61 F.3d 757, 774 (10th Cir. 1995); Floyd v. Dunson,
          D/B/A MMD (In re Ramirez Rodriguez), 209 B.R. 424, 434 (Bankr. S.D.
          Tex. 1997). A prejudgment interest award is appropriate where it is
          necessary to fully compensate a party for the lost use of its money and to
          prevent the defendant’s unjust enrichment. See Sweet v. Consolidated
          Aluminum Corp., 913 F.2d 268, 270-71 (6th Cir. 1990); Vic Bernacchi &
          Sons, Inc. v. Loxas (In re Vic Bernacchi & Sons, Inc), 170 B.R. 647, 656
          (Bankr. N.D. Ind. 1994); Fulghum Constr. Corp., 78 B.R. at 154. In Van
          Dyck/Columbia Printing v. Katz, the court stated that

              “[T]he factors influencing the exercise of [the court’s] discretion to
              [award prejudgment interest] include: (1) the need for full
              compensation of an injured party; (2) considerations of fairness and
              the relative equities of the award; (3) the remedial purpose of the
              statute involved, and/or (4) such other general principles as are
              deemed relevant by the court.”

          289 B.R. 304, 318 (D. Conn. 2003)(quoting United States v. Nat’l
          Westminster Bank USA (In re Q-C Circuits Corp.), 231 B.R. 506, 513-14
          (E.D.N.Y. 1999)(citing Wickham Contracting v. Local Union No. 3,
          IBEW, 955 F.2d 831, 833 (2d Cir. 1992))).

               Federal courts have exercised broad discretion in determining the time
          from which prejudgment interest should accrue. “With respect to
          fraudulent transfers, some courts have awarded prejudgment interest
          beginning from the time that demand or an adversary proceeding is
          initiated, while others have awarded prejudgment interest from the date of
          the transfer.” LaSalle Nat’l Bank Ass'n v. Paloian, 406 B.R. 299, 363
          (N.D. Ill. 2009)(citation omitted). However, generally, courts award
          prejudgment interest from the date a demand is made for the return of
          property or where no demand was made, from the date an adversary
          complaint was filed. Dayton Title Agency, Inc. v. White Family Cos., Inc.
          (In re Dayton Title Agency, Inc.), 292 B.R. 857, 876 (Bankr. S.D. Ohio
          2003)(citation omitted); Floyd v. Dunson, D/B/A MMD (In re Ramirez
          Rodriguez), 209 B.R. 424, 434 (Bankr. S.D. Tex. 1997); Pereira v.
          Goldberger (In re Stephen Douglas, LTD.), 174 B.R. 16, 22 (Bankr.
          E.D.N.Y. 1994); Waldschmidt, v. Ranier (In re Fulghum Constr. Corp.),
          78 B.R. 146, 153-54 (M.D. Tenn. 1987), rev’d on other grounds, 872 F.2d
          739 (6th Cir. 1989).

431 B.R. at 774-76.

       Applying the concepts discussed in Global Technovations, the Court finds that



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prejudgment interest is necessary in this case: (1) to compensate the Debtor’s bankruptcy estate

for the lost use of the money that the Debtor transferred to the Defendants during the year

preceding bankruptcy; and (2) to prevent the Defendants’ unjust enrichment. The Court further

finds that fairness, equity, and the remedial purposes of Bankruptcy Code §§ 547 and 550 all

support an award of prejudgment interest.

        The Court will award prejudgment interest to Plaintiff as follows: (1) from the date on

which Plaintiff filed these adversary proceedings until the last post-trial brief was filed, at the

federal statutory rate under 28 U.S.C. § 1961 that was in effect when the adversary proceedings

were filed (the “Phase 1 rate”); and then (2) from that post-trial date until the date of judgment, at

the federal statutory rate under 28 U.S.C. § 1961 that was in effect when the last post-trial brief

was filed (the “Phase 2 rate”).48 The Court finds such rates to be fair interest rates — high

enough to be properly compensatory but not so high as to be punitive. Post-judgment interest

will accrue on the judgment at the federal statutory rate in effect as of the date of entry of

judgment. 28 U.S.C. § 1961(a).

C. Count VI — disallowance of Defendants’ claims under 11 U.S.C. § 502(d)

        Plaintiff seeks disallowance of the claims filed by Ross and Karafa in the Debtor’s

bankruptcy case, under 11 U.S.C. § 502(d). That section states:

             Notwithstanding subsections (a) and (b) of this section, the court shall
             disallow any claim of any entity from which property is recoverable under
             section 542, 543, 550, or 553 of this title or that is a transferee of a transfer


        48
           The Court finds that the Phase 1 rate is 0.13% per annum, and that the Phase 2 rate is 0.24 %
per annum. See Board of Governors of the Federal Reserve System at https://www.federalreserve.gov/
datadownload/Choose.aspx?rel=H.15. Consistent with the way post-judgment interest is calculated, the
prejudgment interest will be compounded annually. See 11 U.S.C. § 1961(b). Using these parameters,
the Court calculates that the prejudgment interest to be awarded against Ross is $2,157.28, and against
Karafa is $1,231.89.

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           avoidable under section 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a)
           of this title, unless such entity or transferee has paid the amount, or turned
           over any such property, for which such entity or transferee is liable under
           section 522(I), 542, 543, 550, or 553 of this title.

       Under § 502(d), the proofs of claim filed by Ross and Karafa in the Debtor’s bankruptcy

case must be disallowed because, as the Court has concluded, each of these Defendants is an

entity from which property is recoverable under 11 U.S.C. § 550 and is a transferee of transfers

avoidable under 11 U.S.C. § 547. The Court will include in its judgment against each Defendant

an order that the Defendant’s claim is disallowed, unless and until that Defendant pays the full

amount of the money judgment entered against him.

V. Conclusion

       For the reasons stated in this opinion, the Court will enter a judgment for the Plaintiff

Trustee against each Defendant, granting the relief described above.



Signed on April 20, 2018




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